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                                     EXHIBIT A




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                              BSA SETTLEMENT TRUST AGREEMENT


                                    DATED AS OF [●], 2022


 PURSUANT TO THE THIRD MODIFIED FIFTH AMENDED CHAPTER 11 PLAN OF

                    REORGANIZATION FOR BOY SCOUTS OF AMERICA

                                  AND DELAWARE BSA, LLC




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                               BSA SETTLEMENT TRUST AGREEMENT

       This BSA Settlement Trust Agreement (this “Trust Agreement”), dated as of [●], 2021,
and effective as of the Effective Date, is entered in accordance with the Third Modified Fifth
Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and Delaware BSA,
                                                                                           1
LLC, dated as of [●], 2021 (as it may be amended, modified, or supplemented, the “Plan”), by
Boy Scouts of America (the “Settlor,” the “BSA” or, after the Effective Date (as defined in the
Plan) “Reorganized BSA”); the Future Claimants’ Representative for the Trust identified in
Section 7.1 hereof (together with any successor serving in such capacity, the “FCR”);
[●]Honorable Barbara Houser (Ret.), as trustee (together with any successor serving in such
capacity, the “Trustee”); [●] as the Delaware Trustee (together with any successor serving in
such capacity, the “Delaware Trustee”); and the members of the Settlement Trust Advisory
Committee who are the individuals further identified on the signature pages here (together with
any successors serving in such capacity, the “STAC”).

                                                       RECITALS


       (A)    The BSA and its affiliate, Delaware BSA, LLC (together, the “Debtors”) have, or
contemporaneously with the execution of this Trust Agreement will have, reorganized under the
provisions of chapter 11 of the Bankruptcy Code in a case filed in the Bankruptcy Court,
administered and known as In re Boy Scouts of America and Delaware BSA, LLC, Case No.
20-10343 (Bankr. D. Del. 2020) (LSS) (collectively, the “Chapter 11 Cases”).

       (B)     BSA is executing this Trust Agreement in its capacity as Settlor to implement the
Plan and to create the BSA Settlement Trust (the “Trust”) for the benefit of the holders of Class
8 Direct Abuse Claims and Class 9 Indirect Abuse Claims (together, the “Abuse Claims”).

        (C)    The Confirmation Order has been entered by the Bankruptcy Court and is in full
force and effect.

       (D)      The Plan and Confirmation Order provide, among other things, for the creation of
the Trust to satisfy all Abuse Claims in accordance with this Trust Agreement, the Plan and the
Confirmation Order.

       (E)    The Bankruptcy Court held in the Confirmation Order that all the prerequisites for
the Channeling Injunction have been satisfied, and such Channeling Injunction is fully effective
and enforceable as provided in the Plan and Confirmation Order with respect to the channeled
Abuse Claims, as provided therein (the “Channeled Claims”).

       (F)    The Plan and Confirmation Order provide that, on the Effective Date and
continuing thereafter until fully funded by the Debtors in accordance with the Plan, the
Aggregate Settlement Consideration (as defined in Section 1.3), as described in Exhibit 1 shall

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     All capitalized terms used but not otherwise defined herein shall have their respective meanings as set forth in the Plan or
     in the Confirmation Order, as applicable, or, if not defined therein, as set forth in the TDP (as defined in Section 1.2
     below).
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be transferred to and vested in the Trust free and clear of all liens, encumbrances, charges,
claims, interests or other liabilities of any kind of the Debtors or their affiliates, any creditor or
any other entity, other than as provided in the Channeling Injunction with respect to the
Channeled Claims and as provided in Section 1.3.

        NOW, THEREFORE, it is hereby agreed as follows:




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                                       ARTICLE 1.
                                   AGREEMENT OF TRUST

Section 1.1    Creation and Name. BSA as Settlor hereby creates a trust known as the “BSA
Settlement Trust” which is the Trust provided for and referred to in the Plan. The Trustee may
transact the business and affairs of the Trust in the name of the BSA Settlement Trust Fund and
references herein to the Trust shall include the Trustee acting on behalf of the Trust. It is the
intention of the parties hereto that the Trust created hereby constitutes a statutory trust under
Chapter 38 of title 12 of the Delaware Code, 12 Del. C. §§ 3801 et seq. (the “Act”) and that the
Confirmation Order, the Plan and this Trust Agreement, including the Exhibits hereto (the
Confirmation Order, the Plan and this Trust Agreement, including all Exhibits hereto, which
includes the TDP as defined in Section 1.2 below, collectively, the “Trust Documents”),
constitute the governing instruments of the Trust. The Trustee and the Delaware Trustee are
hereby authorized and directed to execute and file a Certificate of Trust with the Delaware
Secretary of State in the form attached hereto as Exhibit 2.

Section 1.2    Purposes. The purposes of the Trust are to (i) assume all liability for the
Channeled Claims, (ii) administer the Channeled Claims and (iii) make distributions to holders
of compensable Abuse Claims, in each case in accordance with the Trust Distributions
Procedures for Abuse Claims attached hereto as Exhibit 3 (the “TDP”). In connection therewith,
the Trust shall hold, manage, protect and monetize the Trust Assets (as defined in Section 1.3
below) in accordance with the terms of the Trust Documents for the benefit of the Beneficiaries
(as defined in Section 1.6(a) below). For the avoidance of doubt, all Abuse Claims asserted
against the Debtors in the Chapter 11 Cases shall be resolved exclusively in accordance with the
TDP.

Section 1.3    Transfer of Assets. Pursuant to the Plan, on the Effective Date, the Trust will
receive and hold all right, title and interest in and to the consideration described in Article IV.D
of the Plan and set forth on Exhibit 1 hereto (the “Aggregate Settlement Consideration” and
together with any income or gain earned thereon and proceeds derived therefrom, collectively,
the “Trust Assets”). The Aggregate Settlement Consideration shall be transferred to the Trust
free and clear of any liens, encumbrances, charges, claims, interests or other liabilities of any
kind of the Debtors or their affiliates, any creditor or any other person or entity, other than as
provided in the Channeling Injunction with respect to Channeled Claims, and except that the
Pfau/Zalkin Restructuring Expenses shall be or shall have been paid from the Settlement Trust
Assets to the extent authorized under Article [V.T] of the Plan. The Debtors or Reorganized
BSA shall execute and deliver such documents to the Trust as the Trustee reasonably requests to
transfer and assign any assets comprising all or a portion of the Aggregate Settlement
Consideration to the Trust.




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Section 1.4     Acceptance of Assets. In furtherance of the purposes of the Trust, the Trustee, on
behalf of the Trust, hereby expressly accepts the transfer to the Trust of the Aggregate Settlement
Consideration, subject to the terms of the Trust Documents. The Trust shall succeed to all of the
Debtors’ respective right, title, and interest, including all legal privileges, in the Aggregate
Settlement Consideration and neither the Debtors nor any other person or entity transferring such
Aggregate Settlement Consideration will have any further equitable or legal interest in, or with
respect to, the Trust Assets, including the Aggregate Settlement Consideration, or the Trust.

               (b)    Except as otherwise provided in the Plan, Confirmation Order or Trust
Documents, the Trust shall have all defenses, cross-claims, offsets, and recoupments, as well as
rights of indemnification, contribution, subrogation, and similar rights, regarding Channeled
Claims that the Debtors or the Reorganized BSA have or would have had under applicable law.

             (c)     No provision herein or in the TDP shall be construed or implemented in a
manner that would cause the Trust to fail to qualify as a “qualified settlement fund” under the
QSF Regulations (as defined in Section 8.4(a) below).

              (d)      Nothing in this Trust Agreement shall be construed in any way to limit the
scope, enforceability, or effectiveness of the Channeling Injunction or other terms of the Plan or
Confirmation Order.

               (e)    In this Trust Agreement and the TDP, the words “must,” “will,” and
“shall” are intended to have the same mandatory force and effect, while the word “may” is
intended to be permissive rather than mandatory.

Section 1.5      Receipt of Proceeds.

       The proceeds of any recoveries from any litigation or claims of the Trust (including the
Actions) will be deposited in the Trust’s accounts and become the property of the Trust.

Section 1.6      Beneficiaries.

               (a)    The beneficial owners (within the meaning of the Act) of the Trust shall
be the holders of Abuse Claims (the “Beneficiaries”).

              (b)    The Beneficiaries shall be subject to the terms of this Trust Agreement
and Trust Documents, including without limitation, the TDP.

Section 1.7     Jurisdiction. The Bankruptcy Court shall have continuing jurisdiction with
respect to the Trust; provided however, the courts of the State of Delaware, including any federal
court located therein, shall also have jurisdiction over the Trust.

Section 1.8      Privileged and confidential information.

        The transfer or assignment of any Privileged Information to the Trustee pursuant to the
Document Agreement (as defined in the Plan) shall not result in the destruction or waiver of any
applicable privileges pertaining thereto. Further, with respect to any such privileges: (a) they are
transferred to or contributed for the purpose of enabling the Trustee to perform his or her duties

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to administer the Trust; (b) they are vested solely in the Trustee and not in the Trust, the STAC,
the FCR, the SASAC (as defined in Section 2.8(a) below), or any other person, committee or
subcomponent of the Trust, or any other person (including counsel and other professionals) who
has been engaged by, represents, or has represented any holder of an Abuse Claim; and (c) the
Trustee shall keep, handle and maintain such Privileged Information in accordance with the
terms of the Document Agreement. Notwithstanding the foregoing, nothing shall preclude the
Trustee from providing Privileged Information to any Insurance Company as necessary to
preserve, secure, or obtain the benefit of any rights under any Insurance Policy.

Section 1.9      Relation-back election.

        Pursuant to the Document Agreement, if applicable, the Trustee and the Debtor shall
fully cooperate in filing a relation-back election under Treasury Regulation Section
1.468B-1(j)(2), to treat the Settlement Trust as coming into existence as a settlement fund as of
the earliest possible date.

Section 1.10     Employer identification number.

      Upon establishment of the Trust, the Trustee shall apply for an employer identification
number for the Trust in accordance with Treasury Regulation Section 1.468B-2(k)(4).

Section 1.11     Relationship to Plan.

        The principal purpose of this Trust Agreement is to aid in the implementation of the Plan
and the Confirmation Order and therefore, this Trust Agreement incorporates the provisions of
the Plan and the Confirmation Order (which may amend or supplement the Plan). To the extent
that there is conflict between the provisions of this Trust Agreement, the TDP, the provisions of
the Plan or the Confirmation Order, each document shall have controlling effect in the following
order: (1) the Confirmation Order; (2) the Plan; (3) this Trust Agreement; and (4) the TDP.

                                         ARTICLE 2.
                              POWERS AND TRUST ADMINISTRATION

Section 2.1      Powers.

               (a)     The Trustee is empowered to take all actions, including such actions as
may be consistent with those expressly set forth above, as the Trustee deems necessary to
reasonably ensure that the Trust is treated as a “qualified settlement fund” under Section 468B of
the Tax Code and the regulations promulgated pursuant thereto. Further, the Trustee may,
unilaterally and without court order, amend, either in whole or in part, any administrative
provision of this Trust Agreement which causes unanticipated tax consequences or liabilities
inconsistent with the foregoing.

              (b)     The Trustee is and shall act as the fiduciary to the Trust in accordance
with the provisions of this Trust Agreement. The Trustee shall administer the Trust, the Trust
Assets, and any other amounts to be received under the terms of the Trust Documents in
accordance with the purposes set forth in Section 1.2 above and in the manner prescribed by the


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Trust Documents. Subject to the limitations set forth in the Trust Documents, the Trustee shall
have the power to take any and all actions that in the judgment of the Trustee are necessary or
advisable to fulfill the purposes of the Trust, including, without limitation, each power expressly
granted in this Section 2.1, any power reasonably incidental thereto and any trust power now or
hereafter permitted under the laws of the State of Delaware. Nothing in the Trust Documents or
any related document shall require the Trustee to take any action if the Trustee reasonably
believes that such action is contrary to law. In addition to all powers enumerated in the Trust
Documents, including, but not limited to, the Trustee’s powers and authority in respect of the
interpretation, application of definitions and rules of construction set forth in Article I of the Plan
to the fullest extent set forth therein, from and after the Effective Date, the Trust shall succeed to
all of the rights and standing of the Debtors with respect to the Aggregate Settlement
Consideration in its capacity as a trust administering assets for the benefit of the Beneficiaries.

              (c)    Except as required by applicable law or the Trust Documents, the Trustee
need not obtain the order or approval of any court in the exercise of any power or discretion
conferred hereunder.

               (d)     Without limiting the generality of Sections 2.1(a) and (b) above, and
except as limited in the Trust Documents and by applicable law, the Trustee shall have the power
to:

                     (i)   supervise and administer the Trust in accordance with the Trust
Documents, including the TDP;

                     (ii)  adopt procedures to allow valid Abuse Claims (“Allowed Abuse
Claims”), and determine an allowed liability amount for each Allowed Abuse Claim (the
“Allowed Claim Amount”) in accordance with the TDP (including adopting procedures to
implement the Independent Review Process under the TDP);

                     (iii) establish an initial payment percentage (the “Initial Payment
Percentage”) with respect to Allowed Abuse Claims and adjust the Initial Payment Percentage
and any subsequent Payment Percentage as set forth in Section 4.2 below;

                       (iv)   establish and adjust payment percentages for Excess Award Shares
from with respect to the Excess Award Fund and for Allowed Abuse Claims entitled to share in
particular PP Settlements on a priority basis consistent with the Trust Documents;

                       (v)     receive and hold the Trust Assets, and exercise all rights with
respect thereto including the right to vote and sell any securities that are included in such funds;

                     (vi)    invest the monies held from time to time by the Trust in
accordance with Section 3.2;

                      (vii) sell, transfer or exchange any or all of the Trust Assets at such
prices and upon such terms as the Trustee may determine proper and consistent with the other
terms of the Trust Documents;



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                      (viii) enter into leasing, financing or other agreements with third parties,
as determined by the Trustee, in his or her discretion, to be useful in carrying out the purposes of
the Trust;

                      (ix)   determine and pay liabilities and pay all fees and expenses incurred
in administering the Trust, managing the Trust Assets and making distributions in accordance
with the Trust Documents (the “Trust Operating Expenses”);

                      (x)  establish accounts and reasonable reserves within the Trust,
including the Excess Award Fund in accordance with the Independent Review Process, as
determined by the Trustee, in his or her discretion, to be necessary, prudent or useful in
administering the Trust;

                        (xi)    sue, be sued and participate, as a party or otherwise, in any
judicial, administrative, arbitrative or other proceeding;

                        (xii) appoint such officers and retain such employees, consultants,
advisors, independent contractors, experts and agents and engage in such legal, financial,
administrative, accounting, investment, auditing and alternative dispute resolution services and
activities as the Trust requires, and delegate to such persons such powers and authorities as this
Trust Agreement provides or the fiduciary duties of the Trustee permits and as the Trustee, in his
or her discretion, deems advisable or necessary in order to carry out the terms of this Trust
Agreement;

                       (xiii) pay reasonable compensation and reimbursement of expenses to
any of the Trust’s employees, consultants, advisors, independent contractors, experts and agents
for legal, financial, administrative, accounting, investment, auditing and alternative dispute
resolution services and activities as the Trust requires;

                      (xiv) compensate the Trustee, Delaware Trustee, the FCR and their
employees, consultants, advisors, independent contractors, experts and agents, and reimburse the
Trustee, the Delaware Trustee, the STAC members, and the FCR for all reasonable out-of-pocket
costs and expenses incurred by such persons in connection with the performance of their duties
hereunder;

                        (xv) compensate professionals for services, costs and expenses incurred
prior to the Effective Date in accordance with the terms of the Plan and Confirmation Order;

                      (xvi) execute and deliver such instruments as the Trustee considers
advisable or necessary in administering the Trust;

                       (xvii) timely file such income tax and other tax returns and statements
required to be filed and timely pay all taxes, if any, required to be paid from the Settlement Trust
Assets and comply with all applicable tax reporting and withholding obligations;

                       (xviii) require, in respect of any distribution of Settlement Trust Assets,
the timely receipt of properly executed documentation (including, without limitation, IRS Form


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W-9) as the Trustee determines in his or her discretion necessary or appropriate to comply with
applicable tax laws;

                          (xix)   resolve all applicable lien resolution matters;

                      (xx) register as a responsible reporting entity (“RRE”) and timely
submit all reports under the reporting provisions of section 111 of the Medicare, Medicaid, and
SCHIP Extension Act of 2007 (Pub. L. 110-173) (“MMSEA”) as required under Section 4.4
below;

                      (xxi) determine the form(s) of release required to be executed by a
Beneficiary in connection with a distribution on account of an Abuse Claim in accordance with
the TDP;

                       (xxii) enter into such other arrangements with third parties as are deemed
by the Trustee to be useful in carrying out the purposes of the Trust, provided such arrangements
do not conflict with any other provision of the Trust Documents;

                      (xxiii) in accordance with Section 5.9 below, defend, indemnify, and hold
harmless (and purchase insurance indemnifying) the Trust Indemnified Parties (as defined in
Section 5.7(a) below) solely from the Trust Assets and to the fullest extent permitted by law;

                       (xxiv) delegate any or all of the authority herein conferred with respect to
the investment of all or any portion of the Trust Assets to any one or more reputable investment
advisors or investment managers without liability for any action taken or omission made because
of any such delegation;

                       (xxv) delegate any or all of the authority conferred with respect to the
protection, preservation, and monetization of the non-cash Trust Assets;

                       (xxvi) initiate, prosecute, defend, settle, maintain, administer, preserve,
pursue, and resolve, pursuant to section 1123(b)(3)(B) of the Bankruptcy Code, all legal actions
and other proceedings related to any asset, liability, or responsibility of the Trust, including the
Actions (as defined in the Plan);

                      (xxvii) enter into structured settlements and other similar arrangements
with any Beneficiary (including a minor or other person in need of special consideration) upon
such terms as the Trustee and such Beneficiary (or such Beneficiary’s counsel or other
authorized person) agree, in all cases in accordance with the TDP, including the Independent
Review Process;

                        (xxviii)      contract for the establishment and continuing maintenance
of a website (the “Trust Website”) to aid in communicating information to the Beneficiaries and
their counsel or other authorized persons;

                       (xxix) take any and all actions appropriate or necessary in order to carry
out the terms of the Trust Documents; and


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                       (xxx) except as otherwise expressly provided in the Trust Documents,
exercise any other powers now or hereafter conferred upon or permitted to be exercised by a
trustee under the laws of the State of Delaware.

               (e)    The Trustee shall have the power to (i) authorize the commencement or
continuation of a lawsuit by a Direct Abuse Claimants against the Trust to obtain the Allowed
Claim Amount of a Direct Abuse Claim in accordance with the provisions of Article XII.B of the
TDP (a “STAC Tort Election Claim”), and (ii) enter into any settlement that causes an
Insurance Company to become a Settling Insurance Company or a Chartered Organization to
become a Contributing Chartered Organization (and thereby a Protected Party) (a “PP
Settlement”), provided however, the powers set forth in this Section 2.1(e) shall in each case be
subject to the provisions of the Trust Documents including Sections 5.13, 5.14 and 5.15(a)
below.

               (f)      The Trustee shall take all actions necessary or advisable for the
enforcement of the non-monetary commitments of Reorganized BSA with respect to Child
Protection as set forth in the Plan and Confirmation Order.

                (g)    The Trustee shall consult with the STAC and the FCR on the matters set
forth in Section 5.13 below. The Trustee shall obtain the consent of the STAC and the FCR prior
to taking action with respect to the matters as set forth in the Trust Documents including Section
5.14 below, as and to the extent set forth therein.

Section 2.2      Limitations on the Trustee, STAC and FCR.

        (a)     Notwithstanding anything in the Trust Documents to the contrary, the Trustee
shall not do or undertake any of the following:

                 (i)      guaranty any debt;

                 (ii)     make or enter into any loan of Trust Assets;

                 (iii) make any transfer or distribution of Trust Assets other than those
                 authorized by the Trust Documents;

                 (iv)   engage in any trade or business with respect to the Trust Assets or
                 proceeds therefrom, other than managing such assets;

                 (v)    engage in any investment of the Trust Assets, other than as explicitly
                 authorized by this Trust Agreement; and

                 (vi)    engage in any activities inconsistent with the treatment of the Trust as a
                 “qualified settlement fund” within the meaning of Treasury Regulations issued
                 under Section 468B of the Tax Code.

       (b)    Notwithstanding anything in the Trust Documents to the contrary, for the benefit
of Direct Abuse Claimants only:


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                 (i)      Excess Insurance Settlements.

                       (1)    As to insurance policies that provide coverage after the primary
insurance limit has been exhausted or used up or that extend the limit of insurance coverage of
the primary policy or the underlying liability policy (“Excess Insurance”), settlements that
would make the insurance carrier a Protected Party as to such policy(ies) (“Excess Insurance
Settlements”) will not be entered into until after the initial deadline for filing Independent
Review Claims under the TDP. Exceptions to this include: (A) Excess Insurance Settlements
involving insurance with aggregate limits where the settlement is for 90% or more of the
remaining aggregate limits; and/or (B) an Excess Insurance Settlement that is proposed by the
Trustee and approved by at least five (5) members of the STAC and the FCR so long as the
Trustee supports the settlement and determines that the proposed settlement is in the best
interests of the Settlement Trust and that one or more of the separately identified Specified
Circumstances are present. In such circumstance, the Trustee may effectuate the proposed
Excess Insurance Settlement without Bankruptcy Court approval. Notwithstanding the
foregoing, if a STAC member dissents from approval of the proposed Excess Insurance
Settlement and wants the Trustee to seek Bankruptcy Court approval of the proposed settlement,
such settlement shall be conditioned on the Bankruptcy Court finding that the proposed
settlement is in the best interest of the Settlement Trust and that the Trustee has reasonably
determined that one or more of the Specified Circumstances exist.

                      (2)    In assessing Excess Insurance Settlements, the Trustee and STAC
will consider principally the interests of Abuse Claims (whether determined through the
Independent Review Process or through Claims Matrix and Scaling Factors under the TDP) that
enhance the collection of Excess Insurance.

                        (3)    Excess Insurance Settlements must be supported by an independent
expert opinion that the settlement value is fair in light of the expected liabilities against the
insurance, unless de minimis. The Settlement Trust shall recover the cost of such expert opinion
from the first dollars paid on account of such settlement. The expert must take into account the
opinions of the holders of Independent Review Claims whose claims are covered by the insurer
at issue.

                       (4)     Unless the Excess Insurance settlement is for an aggregate limit
excess policy settled at or above 90% of the available aggregate limit, the Trustee and STAC
shall consider the opinions of Direct Abuse Claimants that hold Independent Review Claims
covered by the insurer at issue; and

                          (ii) Chartered Organization Settlements.

         No Chartered Organization may become a Contributing Chartered Organization under a
PP Settlement: (1) absent a separate contribution to the Settlement Trust in an amount that the
Trustee finds acceptable after taking into account the value of the claims against the Chartered
Organization and the Chartered Organization’s ability to pay (from assets and separate
insurance), (2) if the PP Settlement is made on behalf of more than one Chartered Organization
(or its affiliated entities) and the funds are not coming directly from a Chartered Organization (or
its affiliated entities) or an insurance company directly insuring the Chartered Organization (or


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its affiliated entities), unless the terms of the PP Settlement afford all holders of Direct Abuse
Claims that had maintained lawsuits that were permitted by the Channeling Injunction against
any of such Chartered Organizations (or its or their affiliated entities) prior to the proposed PP
Settlement an opportunity to opt out and maintain their lawsuits, and (3) absent approvals by the
STAC and/or FCR and/or Bankruptcy Court required by the Trust Documents.

Section 2.3     General Administration. The Trustee shall act in accordance with the Trust
Documents. The Trustee shall establish the location of the principal office of the Trust and may
change the location of the principal office or establish other offices at other locations in his or
her discretion.

Section 2.4      Accounting. The fiscal year of the Trust shall begin on January 1 and shall end on
December 31 of each calendar year. The Trustee shall maintain the books and records relating to
the Trust Assets and income and the payment of Trust Operating Expenses and other liabilities of
the Trust. The detail of these books and records and the duration of time during which the
Trustee shall keep such books and records shall be such as to allow the Trustee to make a full
and accurate accounting of all Trust Assets, as well as to comply with applicable provisions of
law and standard accounting practices necessary or appropriate to produce an annual report
containing special-purpose financial statements of the Trust, including, without limitation, the
assets and liabilities of the Trust as of the end of such fiscal year and the additions, deductions
and cash flows for such fiscal year (the “Annual Report”); provided however, that the Trustee
shall maintain such books and records until the wind-up of the Trust’s affairs and satisfaction of
all of Trust liabilities.

Section 2.5      Financial Reporting.

               (a)    The Trustee shall engage a firm of independent certified public
accountants (the “Independent Auditors”) selected by the Trustee, to audit the Annual Report.
Within one hundred twenty (120) days following the end of each calendar year, the Trustee shall
file with the Bankruptcy Court the Annual Report audited by the Independent Auditors and
accompanied by an opinion of such firm as to the fairness in all material respects of the
special-purpose financial statements. The Trustee shall publish a copy of such Annual Report on
the Trust Website when such report is filed with the Bankruptcy Court.

                (b)   All materials filed with the Bankruptcy Court pursuant to this Section 2.4
need not be served on any parties in the Chapter 11 Cases but shall be available for inspection by
the public in accordance with procedures established by the Bankruptcy Court.

Section 2.6     Claims Reporting. Within one hundred twenty (120) days following the end of
each calendar year, the Trustee shall cause to be prepared and filed with the Bankruptcy Court an
annual report containing a summary regarding the number and type of Abuse Claims disposed of
during the period covered by the financial statements (the “Annual Claims Report”). The
Trustee shall post a copy of the Annual Claims Report on the Trust Website when such report is
filed with the Bankruptcy Court.

               (b)     Within forty-five (45) days following the end of each calendar quarter, the
Trustee shall cause to be prepared a quarterly claims report containing a summary regarding the


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number and type of Abuse Claims disposed of during the quarter (the “Quarterly Claims
Report”). The financial information set forth in the Quarterly Claims Report shall be unaudited.
The Trustee shall post a copy of the Quarterly Claims Report on the Trust Website; the Quarterly
Claims Report need not be filed with the Bankruptcy Court.

Section 2.7        Names and addresses.

        The Trustee shall keep a register (the “Register”) in which the Trustee shall at all times
maintain the names and addresses of the Beneficiaries and the awards made to the Beneficiaries
pursuant to the Trust Documents. The Trustee may rely upon this Register for the purposes of
delivering distributions or notices. In preparing and maintaining this Register, the Trustee may
rely on the name and address of each Abuse Claim holder as set forth in a proof of claim filed by
such holder, or proper notice of a name or address change, which has been delivered by such
Beneficiary to the Trustee. The Trustee may deliver distributions and notices to counsel for any
Beneficiary identified in such Beneficiary’s proof of claim or proper notice of a name or address
change.

Section 2.8        Sexual Abuse Survivors Advisory Committee.

               (a)     There shall be a Sexual Abuse Survivors Advisory Committee which shall
consist of five (5) individual abuse survivors (such individuals, together with their successors,
the “SASAC”).2

               (b)     The SASAC may attend and participate in such meetings as shall be called
by the Trustee and/or the STAC (“SASAC Meetings”) from time to time as determined by the
Trustee and/or STAC respectively in their discretion, and the Trustee and STAC shall provide
periodic reporting to the SASAC. There shall be not less than one (1) SASAC Meetings in each
calendar year. The Trustee and/or the STAC shall propose, and be available, to consult with the
SASAC at least quarterly, and shall use their reasonable best efforts to keep the SASAC advised
of any material matters of the Trust, as determined by the Trustee and/or STAC in their
reasonable judgment.

               (c)     The SASAC may have reasonable access to the Trust’s consultants and
other advisors retained by the Trust and its staff (if any), which access may be made available as
determined by the Trustee.

              (d)    The members of the SASAC shall not be entitled to compensation for their
services; the members of the SASAC shall be reimbursed promptly for all reasonable and
documented out-of-pocket costs and expenses incurred in connection with their attendance at all
SASAC Meetings set forth in Section 2.8(b). The Trust shall include a description of the
amounts paid under this Section 2.8 in the Annual Report to be posted on the Trust’s Website.

Section 2.9        Transfers of the Trust Corpus.


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     The initial members of the SASAC shall consist of three (3) individuals selected by the Coalition, subject to the reasonable
     consent of the TCC, and three (3) individuals selected by the TCC, subject to the reasonable consent of the Coalition.



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        To the fullest extent permitted by law, neither the principal nor income of the Trust, in
whole or part, shall be subject to any legal or equitable claims of creditors of any Beneficiary or
others, nor to legal process, nor be voluntarily or involuntarily transferred, assigned, anticipated,
pledged or otherwise alienated or encumbered except as may be ordered by the Bankruptcy Court
or other competent court of jurisdiction.

                                           ARTICLE 3.
                                ACCOUNTS, INVESTMENTS, EXPENSES

Section 3.1      Accounts.

                (a)    The Trustee shall maintain one or more accounts (“Trust Accounts”) on
behalf of the Trust with one or more financial depository institutions (each a “Financial
Institution”). Candidates for the positions of Financial Institution shall fully disclose to the
Trustee any interest in or relationship with Reorganized BSA or their affiliated persons or
[others]. Any such interest or relationship shall not be an automatic disqualification for the
position, but the Trustee shall take any such interest or relationship into account in selecting a
Financial Institution.

               (b)     The Trustee may replace any retained Financial Institution with a
successor Financial Institution at any time, and such successor shall be subject to the
considerations set forth in Section 3.1(a).

                (c)     The Trustee may maintain a segregated account to hold any assets thereof
for the benefit of the holders of Future Abuse Claims (the “Future Abuse Claims Reserve”) to
the extent required to implement the TDP. Trust Operating Expenses directly allocable to the
administration of Future Abuse Claims and the Future Abuse Claims Reserve shall be charged
against the Future Abuse Claims Reserve, as reasonably determined by the Trustee.

                          (i)      [Reserved for the administration of the Future Abuse Claims
Reserve.]

                (d)     The Trustee may maintain segregated accounts to hold any assets received
as a result of or in connection with a PP Settlement between the Debtors or the Trust, on the one
hand, and a Chartered Organization that is or becomes a Protected Party, on the other hand (the
“Chartered Organization Abuse Claims Reserve”) to the extent required to implement the
TDP. The Trust shall hold the assets thereof for the benefit of holders of Allowed Abuse Claims
that (i) could have been satisfied from that source absent the Plan’s Discharge and Channeling
Injunction and (ii) are held by Direct Abuse Claimants that execute a conditional release
releasing all claims against all Chartered Organizations pursuant to the terms of the TDP
(“Chartered Organization Abuse Claims”). Trust Operating Expenses directly allocable to the
administration of Chartered Organization Abuse Claims and the Chartered Organization Abuse
Claims Reserve shall be charged against the Chartered Organization Abuse Claims Reserve, as
reasonably determined by the Trustee.




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                    (i)        [Reserved for the administration of the Chartered Organization
Abuse Claims Reserve.]

                (e)     The Trustee may maintain segregated accounts to hold any assets received
as a result of or in connection with any settlement for the benefit of the holders of Excess Award
Shares including maintaining the Excess Award Fund as and to the extent required to implement
the TDP in connection with the Independent Review Process. Expenses directly allocable to the
administration of the Excess Award Fund shall be charged against the Excess Award Fund, as
reasonably determined by the Trustee.

                (f)    The Trustee may, from time to time, create such accounts and reasonable
reserves within the Trust Accounts as authorized in this Section 3.1 and as he or she may deem
necessary, prudent or useful in order to provide for distributions to the Beneficiaries and the
payment of Trust Operating Expenses and may, with respect to any such account or reserve,
restrict the use of money therein for a specified purpose (the “Trust Subaccounts”). [Any such
Trust Subaccounts established by the Trustee shall be held as Trust Assets and are not intended
to be subject to separate entity tax treatment as a “disputed claims reserve” or a “disputed
ownership fund” within the meaning of the Internal Revenue Code (“IRC”) or Treasury
Regulations.]



Section 3.2      Investment Guidelines.

             (a)     The Trustee may invest the Trust Assets in accordance with the
Investment Guidelines, attached hereto as Exhibit 4 (the “Investment Guidelines”).

                (b)    Pursuant to the Plan, the Trust shall hold certain non-liquid assets. The
Trustee shall own, protect, oversee, insure and monetize such non-liquid assets in accordance
with the Trust Documents. This Section 3.2(b) is intended to modify the application to the Trust
of the “prudent person” rule, “prudent investor” rule and any other rule of law that would require
the Trustee to diversify the Trust Assets.

               (c)    Cash proceeds received by the Trust in connection with its monetization of
the non-liquid Trust Assets shall be invested in accordance with the Investment Guidelines until
needed for the purposes of the Trust as set forth in Section 1.2 above.




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Section 3.3    Payment of Trust Operating Expenses. All Trust Operating Expenses shall be
payable out of the Trust Assets. None of the Trustee, Delaware Trustee, the STAC, the FCR, the
Beneficiaries nor any of their officers, agents, advisors, professionals or employees shall be
personally liable for the payment of any Trust Operating Expense or any other liability of the
Trust.

                                     ARTICLE 4.
                      CLAIMS ADMINISTRATION AND DISTRIBUTIONS

Section 4.1      Claims Administration and Distributions.

                 (a)   The Trust shall fairly and reasonably compensate Allowed Abuse Claims
and shall pay up to the full value of such claims, solely in accordance with the Trust Documents,
including the TDP (and, for the avoidance of doubt, including without limitation the provisions
of Article XI, Article XII.C. and G, and Article XIII of the TDP). The TDP shall be subject to
amendment or modification only to the extent expressly set forth in the TDP. There shall be two
(2) Claims Administrators to oversee the administration of claims. The initial Claims
Administrators shall be (1) [●]Honorable Michael Reagan (Ret.) principally to serve in the role
of Claims Administrator for the Independent Review Process and (2) [●]Honorable Diane Welsh
(Ret.) principally to serve in the role of Claims Administrator for the claims otherwise
administered under the TDP. Successor Claim Administrators will be selected only if approved
by at least five (5) members of the STAC and with the reasonable consent of the FCR.

                (b)     The Trustee, with the consent of five (5) members of the STAC and with
the reasonable consent of the FCR, shall employ individuals to serve as the Neutrals in the
Independent Review Process under the TDP, giving due weight in the selection process to prior
service as a retired judge with tort experience.

               (c)     Among the Trust Assets are funds contributed from Pachulski Stang Ziehl
& Jones LLP (the “PSZJ Contribution”). The Trustee shall have discretion to use such part of
the PSZJ Contribution as the Trustee may determine to distribute to holders of Abuse Claims in
recognition of their positive contributions made prior to, during or after the Chapter 11 Cases
benefiting survivors of childhood sexual abuse and preventing abuse.

Section 4.2      Applicability and Review of Payment Percentage.

                (a)     Because there is uncertainty in the prediction of both the total amount of
the Trust’s liabilities and the amount of the Trust Assets, no guarantee can be made as to the
total payment the Trust will be able to pay for any Allowed Abuse Claim. The Trustee shall
determine from time to time the percentage of value that holders of present and future Abuse
Claims are likely to receive from the Trust Assets available for distribution on account of
compensable Abuse Claims. As soon as practicable after the Effective Date, the Trustee shall
establish an Initial Payment Percentage.

                (b)    The Initial Payment Percentage shall apply to all Allowed Abuse Claims
to be paid by the Trust until the Trustee, with the consent of the STAC and the FCR, determines
that the Initial Payment Percentage should be changed to assure that the Trust shall be in a


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financial position to pay present and future holders of similar Allowed Abuse Claims in
substantially the same manner (the Initial Payment Percentage, as it may be changed from time to
time pursuant to this Section 4.2, the “Payment Percentage”).

                (c)      No less frequently than once every twelve (12) months, commencing on
the first anniversary of the Effective Date, the Trustee shall compare the Abuse Claims
distribution forecasts for the Trust on which the then-existing Payment Percentage was based
with the actual Abuse Claims filings and distributions of the Trust to date. If the results of the
comparison suggest the potential for shortfalls in Trust Assets for continued Abuse Claims
distributions at the then applicable Payment Percentage, the Trustee shall undertake a
reconsideration of the Payment Percentage. The Trustee may reconsider the Payment Percentage
at shorter intervals if the Trustee deems such reconsideration is appropriate or if requested to do
so by the STAC or the FCR. The provisions of this Section 4.2(d) may be modified by the
Trustee with the consent of the STAC and the FCR.

               (d)     The Trustee shall base the determination of any Payment Percentage on
current estimates of the number, types, and values of present and future Abuse Claims, the
current Trust Assets, all anticipated Trust Operating Expenses, and any other material matters
that are reasonably likely to affect the sufficiency of Trust Assets available to pay the present and
future holders of Abuse Claims.

               (e)     The Trustee shall base the determination of any payment percentage for
the Excess Award Fund on current estimates of the number, types, and values of present and
future Excess Award Shares, the current amount of the Excess Award Fund and any other
material matters that are reasonably likely to affect the sufficiency of Trust Assets available to
pay the present and future holders of Excess Award Shares.

               (f)     The Trustee shall base the determination of any payment percentage for
any segregated fund resulting from the contributions of or on behalf of a Contributing Chartered
Organization on current estimates of the number, types, and values of present and future Abuse
Claims entitled to share in that fund under the Trust Documents and any other material matters
that are reasonably likely to affect the sufficiency of Trust Assets available to pay the present and
future holders of those Abuse Claims.

Section 4.3      Supplemental Payments.

                (a)   If the Trustee, with the consent of the STAC and the FCR, increases the
Payment Percentage, the Trust shall make supplemental payments to all Beneficiaries who
previously liquidated their Abuse Claims and received payments based on a lower Payment
Percentage (with adjustments, if any, as set forth in the TDP). The amount of any such
supplemental payment to a Beneficiary shall be the liquidated value of the Abuse Claim in
question times the applicable newly adjusted Payment Percentage, less all amounts previously
paid by the Trust to the Beneficiary (with adjustments, if any, as set forth in the TDP) with
respect to the Abuse Claim.

               (b)     The Trustee’s obligation to make a supplemental payment to a Beneficiary
shall be suspended in the event the payment in question would be less than $250 after application


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of the Payment Percentage at that time. The amount of a suspended payment to the holder of any
Abuse Claim shall be added to the amount of any prior supplemental payment(s) that was/were
also suspended because it/they collectively would have been less than $250, and the Trustee’s
obligation shall resume to pay any such aggregate supplemental payments due the Beneficiary at
such time that the cumulative aggregate amount exceeds $250.

               (c)     Notwithstanding anything herein or in the TDP, the Trustee reserves all
powers expressly granted to him or her by the Plan and the Confirmation Order with respect to
the administration of Abuse Claims.

Section 4.4     Manner of Payment. Distributions from the Trust to the Beneficiaries may be
made by the Trustee on behalf of the Trust or by a disbursing agent retained by the Trust to make
distributions on behalf of the Trust.

Section 4.5      Delivery of Distributions.

                (a)     Distributions shall be payable to the Beneficiary (or to counsel for the
Beneficiary) on the date approved for distribution by the Trustee (the “Distribution Date”) in
accordance with the terms of the Trust Documents, including the TDP. With respect to each
compensable Abuse Claim approved for payment, distributions shall be made only after the
Trustee has determined that all obligations of the Trust with respect to each such Abuse Claim
have been satisfied. In the event that any distribution to a Beneficiary is returned as
undeliverable, no further distribution to such Beneficiary shall be made unless and until the
Trustee has been notified of the then current address of such Beneficiary, at which time such
distribution shall be made to such Beneficiary without interest; provided however, that all
distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code
at the expiration of six (6) months from the applicable Distribution Date. After such date, (i) all
unclaimed property or interests in property shall revert to the Trust (notwithstanding any
applicable federal or state escheat, abandoned or unclaimed property laws to the contrary), (ii)
the Abuse Claim of such Beneficiary shall be released, settled, compromised and forever barred
as against the Trust, and (iii) all unclaimed property interests shall be distributed to other
Beneficiaries in accordance with the Trust Documents, as if the Abuse Claim of such Beneficiary
had been disallowed as of the date the undeliverable distribution was first made. The Trustee
shall take reasonable efforts to obtain a current address for any Beneficiary with respect to which
any distribution is returned as undeliverable.

               (b)     In the event the Trust holds cash after paying all Trust Operating Expenses
and making all distributions contemplated under the Trust Documents, such remaining cash shall
be distributed to a national recognized charitable organization of the Trustee’s choice to the
extent economically feasible, which charitable organization shall be independent of the Trustee,
the STAC and the FCR and, to the extent possible, shall have a charitable purpose consistent
with the protection of children from sexual abuse or its ramifications. No Trust Asset or any
unclaimed property shall escheat to any federal, state, or local government or any other entity.

             (c)   Notwithstanding any provision in the Trust Documents to the contrary, no
payment shall be made to any Beneficiary on account of any Abuse Claim if the Trustee



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determines that the costs of making such distribution is greater than the amount of the
distribution to be made.

Section 4.6      Medicare Reimbursement and Reporting Obligations.

               (a) The Trust shall register as an RRE under the reporting provisions of
section 111 of MMSEA.

                (b)     The Trust shall, at its sole expense, timely submit all reports that are
required under MMSEA on account of any claims settled, resolved, paid, or otherwise liquidated
by the Trust or with respect to contributions to the Trust. The Trust, in its capacity as an RRE,
shall follow all applicable guidance published by the Centers for Medicare & Medicaid Services
of the United States Department of Health and Human Services and/or any other agency or
successor entity charged with responsibility for monitoring, assessing, or receiving reports made
under MMSEA (collectively, “CMS”) to determine whether or not, and, if so, how, to report to
CMS pursuant to MMSEA.

               (c)      Before remitting funds to claimants’ counsel, or to the claimant if such
claimant is acting pro se, in respect of any Abuse Claim, the Trustee shall obtain a certification
that said claimant (or such claimant’s authorized representative) has provided or will provide for
the payment and/or resolution of any obligations owing or potentially owing under 42 U.S.C. §
1395y(b), or any related rules, regulations, or guidance, in connection with, or relating to, such
Abuse Claim.

Section 4.7      Claims Administrators’ Employment of Professionals.

        The Trustee may, but is not required to, retain and/or consult legal counsel, accountants,
appraisers, auditors, forecasters, experts, financial and investment advisors and such other parties
for the Claims Administrators to assist on matters for the Trust within the purview of the Claims
Administrators (the “Claims Administrator Professionals”), provided however that the
selection of such professional(s) shall be approved by at least five (5) members of the STAC
with the reasonable consent of the FCR.



                                       ARTICLE 5.
                              TRUSTEE; DELAWARE TRUSTEE

Section 5.1   Number of Trustees. In addition to the Delaware Trustee appointed pursuant to
Section 5.11 hereof, there shall be one (1) Trustee. The initial Trustee shall be [●]. For the
avoidance of doubt, there shall be at least one (1) Trustee serving at all times (in addition to the
Delaware Trustee).

Section 5.2      Term of Service, Successor Trustee.

                (a)     The Trustee shall serve from the Effective Date until the earliest of (i) his
or her death, (ii) his or her resignation pursuant to Section 5.2(b) below, (iii) his or her removal


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pursuant to Section 5.2(c) below, and (iv) the termination of the Trust pursuant to Section 8.2
below.

                (b)    The Trustee may resign at any time upon written notice to the STAC and
FCR with such notice filed with the Bankruptcy Court. Such notice shall specify a date when
such resignation shall take effect, which shall not be less than ninety (90) days after the date such
notice is given, where practicable.

               (c)     The Trustee may be removed by consent of (i) at least two/thirds (2/3)
majority of the STAC and (ii) the FCR, in the event that the Trustee becomes unable to discharge
his or her duties hereunder due to accident, physical deterioration, mental incompetence or for
other good cause, provided the Trustee has received reasonable notice and an opportunity to be
heard. Other good cause shall mean fraud, self-dealing, intentional misrepresentation, willful
misconduct, indictment for or conviction of a felony in each case whether or not connected to the
Trust, any substantial failure to comply with the administration of the Trust or a consistent
pattern of neglect and failure to perform or participate in performing the duties of Trustee
hereunder. For the avoidance of doubt, any removal of a Trustee pursuant to this Section 5.2(c)
shall require the approval of the Bankruptcy Court and shall take effect at such time as the
Bankruptcy Court shall determine.

Section 5.3      Appointment of Successor Trustee.

               (a)    In the event of the death, resignation or removal of [●] as Trustee, such
vacancy shall immediately be filled by [●], who shall thereafter serve as Trustee pursuant to the
terms of the Trust Documents, provided that if [●] is unable to serve as the successor Trustee,
the successor Trustee shall be appointed in accordance with the terms of the following sentence.
In the event of any vacancy in the office of the Trustee, including the death, resignation or
removal of any successor Trustee, such vacancy shall be filled by the STAC and the FCR as set
forth herein. The STAC will nominate an individual to serve as successor Trustee. If the majority
of the STAC then in office and the FCR agree upon a successor Trustee, then, subject to the
approval of the Bankruptcy Court, such individual shall become the Trustee. In the event that a
majority of the STAC and the FCR cannot agree on a successor Trustee, the matter will be
resolved pursuant to Section 8.16 below.

                (b)    Immediately upon the appointment of any successor Trustee pursuant to
Section 5.3(a) above, all rights, titles, duties, powers and authority of the predecessor Trustee
hereunder shall be vested in and undertaken by the successor Trustee without any further act. No
successor Trustee shall be liable personally for any act or omission of his or her predecessor
Trustee. No predecessor Trustee shall be liable personally for any act or omission of his or her
successor Trustee. No successor Trustee shall have any duty to investigate the acts or omissions
of his or her predecessor Trustee.

                 (c)    Each successor Trustee shall serve until the earliest of (i) his or her death,
(ii) his or her resignation pursuant to Section 5.2(b) above, (iii) his or her removal pursuant to
Section 5.2(c) above, and (iv) the termination of the Trust pursuant to Section 8.2 below.




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Section 5.4      Trustee Meetings.

                (a)    Regular Meeting. The Trustee shall hold regular meetings with the STAC
and the FCR not less than quarterly, which may be held at such times and at such places as may
be determined from time to time by the Trustee. For the avoidance of doubt, the Delaware
Trustee shall not be required or permitted to attend any meetings of the Trustee contemplated by
this Section 5.4.

                (b)    Special Meetings. Special meetings of the Trustee with the STAC, the
SASAC and/or the FCR, either jointly or separately, may be called by the Trustee by giving
written notice to the STAC, the SASAC and/or the FCR not less than one (1) business day prior
to the date of the meeting. Any such notice shall include the time, place and purpose of the
meeting, given by overnight courier, personal delivery, facsimile, electronic mail or other similar
means of communication. Notice shall be addressed or delivered to the address as shown upon
the records of the Trust or as may have been given to the Trustee for purposes of notice. Notice
by overnight courier shall be deemed to have been given one (1) business day after the time that
written notice is provided to such overnight courier. Any other written notice shall be deemed to
have been given at the time it is personally delivered to the recipient or actually transmitted by
the person giving the notice by electronic means to the recipient.

                (c)    Participation in Meetings by Telephone Conference. The Trustee may
convene, and persons may participate in, a meeting by conference telephone or similar
communications equipment (which shall include virtual meetings via video conferencing
software), as long as all persons participating in such meeting can hear one another. Participation
in a meeting pursuant to this Section 5.4(c) shall constitute presence in person at such meeting.

                (d)    Waiver of Notice. Notice of a meeting need not be given to any person
who signs a waiver of notice, whether before or after the meeting. All such waivers shall be filed
with the Trust records or made a part of the minutes of the meeting. Attendance at a meeting
shall constitute a waiver of notice of such meeting. Neither the business to be transacted at, nor
the purpose of, any Trustee meeting need be specified in any waiver of notice.

               (e)        Adjournment. A meeting may be adjourned by the Trustee to another
time and place.




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Section 5.5    Compensation and Expenses of Trustee. The Trustee shall receive compensation
from the Trust for his or her services as Trustee. The initial amount of the Trustee’s
compensation shall be [●] and shall be adjusted annually thereafter as reasonably determined by
the majority of the STAC and FCR. The Trust shall also, upon receipt of appropriate
documentation, reimburse all reasonable out-of-pocket costs and expenses incurred by the
Trustee in the course of carrying out his or her duties as Trustee in accordance with reasonable
policies and procedures as may be adopted from time to time, including in connection with
attending meetings of the Trustee. The amounts paid to the Trustee for compensation and
expenses shall be disclosed in the Annual Report.

Section 5.6      Trustee’s Independence.

                (a)     The Trustee shall not, during his or her service, hold a financial interest in,
act as attorney or agent for or serve as any other professional for Reorganized BSA, their
affiliated persons, or [others]. No Trustee shall act as an attorney for, or otherwise represent, any
Person who holds a claim in the Chapter 11 Cases. For the avoidance of doubt, this provision
shall not apply to the Delaware Trustee.

               (b)    The Trustee, and the Delaware Trustee, shall be indemnified by the Trust
in acting upon any resolution, certificate, statement, instrument, opinion, report, notice, request,
consent, order or other paper or document believed by them to be genuine and to have been
signed or presented by the proper party or parties.

                 (c)    Persons dealing with the Trust, the Trustee, and the Delaware Trustee with
respect to the affairs of the Trust, shall have recourse only to the Trust Assets to satisfy any
liability incurred by the Trust, the Trustee or the Delaware Trustee to such Person in carrying out
the terms of this Trust Agreement, and neither the Trustee, the Delaware Trustee, the
Beneficiaries, nor any of their professionals, advisors, officers, agents, consultants or lawyers
shall have any personal obligation to satisfy any such liability.

Section 5.7      Standard of Care; Exculpation.

               (a)     As used herein, the term “Trust Indemnified Party” shall mean the
Trustee, the Delaware Trustee, the Claims Administrators, the members of the STAC, the FCR,
the SASAC and each of their respective members, officers, employees, agents, consultants,
lawyers, advisors or professionals (collectively, the “Trust Indemnified Parties”).

               (b)      No Trust Indemnified Party shall be liable to the Trust, any other Trust
Indemnified Party, any Beneficiary or any other Person for any damages arising out of the
creation, operation, administration, enforcement or termination of the Trust, except in the case of
such Trust Indemnified Party’s willful misconduct, bad faith, or fraud as finally judicially
determined by a court of competent jurisdiction. To the fullest extent permitted by applicable
law, the Trust Indemnified Parties shall have no liability for any action in performance of their
duties under this Trust Agreement taken in good faith with or without the advice of counsel,
accountants, appraisers and other professionals retained by the Trust Indemnified Parties. None
of the provisions of this Trust Agreement shall require the Trust Indemnified Parties to expend or
risk their own funds or otherwise incur personal financial liability in the performance of any of


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their duties hereunder or in the exercise of any of their respective rights and powers. Any Trust
Indemnified Party may rely, without inquiry, upon writings delivered to it under any of the Trust
Documents, which the Trust Indemnified Party reasonably believes to be genuine and to have
been given by a proper person. Notwithstanding the foregoing, nothing in this Section 5.7 shall
relieve the Trust Indemnified Parties from any liability for any actions or omissions arising out of
the willful misconduct, bad faith, or fraud as finally judicially determined by a court of
competent jurisdiction; provided that in no event will any such person be liable for punitive,
exemplary, consequential or special damages under any circumstances. Any action taken or
omitted by the Trust Indemnified Parties with the approval of the Bankruptcy Court, or any other
court of competent jurisdiction, will conclusively be deemed not to constitute willful
misconduct, bad faith, or fraud.

                (c)    The Trust Indemnified Parties shall not be subject to any personal liability
whatsoever, whether in tort, contract or otherwise, to any Person in connection with the affairs of
the Trust or for any liabilities or obligations of the Trust except for those acts that are finally
judicially determined by a court of competent jurisdiction to have arisen out of their own willful
misconduct, bad faith, or fraud, and all Persons claiming against the Trust Indemnified Parties,
or otherwise asserting claims of any nature in connection with affairs of the Trust, shall look
solely to the Trust Assets for satisfaction of any such claims.

                 (d)    To the extent that, at law or in equity, the Trust Indemnified Parties have
duties (including fiduciary duties) or liability related thereto, to the Trust or the Beneficiaries, it
is hereby understood and agreed by the parties hereto and the Beneficiaries that such duties and
liabilities are eliminated to the fullest extent permitted by applicable law, [including Section
3806 of the Act,] and replaced by the duties and liabilities expressly set forth in this Trust
Agreement with respect to the Trust Indemnified Parties, provided however, that the duties of
care and loyalty are not eliminated but are limited and subject to the terms of this Trust
Agreement, including but not limited to this Section 5.7 and its subparts.

                (e)     The Trust Indemnified Parties shall be indemnified to the fullest extent
permitted by law by the Trust against all liabilities arising out of the creation, operation,
administration, enforcement or termination of the Trust, including actions taken or omitted in
fulfillment of their duties with respect to the Trust, except for those acts that are finally judicially
determined by a court of competent jurisdiction to have arisen out of their own willful
misconduct, bad faith, or fraud.

                (f)   The Trust will maintain appropriate insurance coverage for the protection
of the Trust Indemnified Parties, as determined by the Trustee in his or her discretion.

Section 5.8      Protective Provisions.

                (a)     Every provision of this Trust Agreement relating to the conduct or
affecting the liability of or affording protection to Trust Indemnified Parties shall be subject to
the provisions of this Section 5.8.

               (b)     In the event the Trustee retains counsel (including at the expense of the
Trust), the Trustee shall be afforded the benefit of the attorney-client privilege with respect to all


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communications with such counsel, and in no event shall the Trustee be deemed to have waived
any right or privilege including, without limitation, the attorney-client privilege even if the
communications with counsel had the effect of guiding the Trustee in the performance of duties
hereunder. A successor to any Trustee shall succeed to and hold the same respective rights and
benefits of the predecessor for purposes of privilege, including the attorney-client privilege. No
Beneficiary or other party may raise any exception to the attorney-client privilege discussed
herein as any such exceptions are hereby waived by all parties.

               (c)     To the extent that, at law or in equity, the Trustee has duties (including
fiduciary duties) and liabilities relating hereto, to the Trust or to the Beneficiaries, it is hereby
understood and agreed by the Parties and the Beneficiaries that such duties and liabilities are
eliminated to the fullest extent permitted by applicable law, including Section 3806 of the Act,
and replaced by the duties and liabilities expressly set forth in this Trust Agreement with respect
to the Trustee, provided however, that the duties of care and loyalty are not eliminated but are
limited and subject to the terms of this Trust Agreement, including but not limited to Section 5.7
herein.

              (d)     No Trust Indemnified Party shall be personally liable under any
circumstances, except for their own willful misconduct, bad faith, or fraud as finally judicially
determined by a court of competent jurisdiction.

               (e)     No provision of this Trust Agreement shall require the Trust Indemnified
Parties to expend or risk their own personal funds or otherwise incur financial liability in the
performance of their rights, duties, and powers hereunder.

                (f)    In the exercise or administration of the Trust hereunder, the Trust
Indemnified Parties (i) may act directly or through their respective agents or attorneys pursuant
to agreements entered into with any of them, and the Trust Indemnified Parties shall not be liable
for the default or misconduct of such agents or attorneys if such agents or attorneys have been
selected by the Trust Indemnified Parties in good faith and with due care, and (ii) may consult
with counsel, accountants and other professionals to be selected by them in good faith and with
due care and employed by them, and shall not be liable for anything done, suffered or omitted in
good faith by them in accordance with the advice or opinion of any such counsel, accountants or
other professionals.

Section 5.9      Indemnification.

               (a)       Without the need for further court approval, the Trust hereby indemnifies,
holds harmless, and defends the Trust Indemnified Parties in the performance of their duties
hereunder to the fullest extent that a trust, including a statutory trust organized under the laws of
the State of Delaware, is entitled to indemnify, hold harmless and defend such persons against
any and all liabilities, expenses, claims, damages or losses (including attorneys’ fees and costs)
incurred by them in the performance of their duties hereunder or in connection with activities
undertaken by them prior to or after the Effective Date in connection with the formation,
establishment, funding or operations of the Trust except for those acts that are finally judicially




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determined by a court of competent jurisdiction to have arisen out of their own willful
misconduct, bad faith, or fraud.

                (b)   Reasonable expenses, costs and fees (including attorneys’ fees and costs)
incurred by or on behalf of the Trust Indemnified Parties in connection with any action, suit or
proceeding, whether civil, administrative or arbitrative, from which they are indemnified by the
Trust shall be paid by the Trust in advance of the final disposition thereof upon receipt of an
undertaking, by or on behalf of the Trust Indemnified Parties, to repay such amount in the event
that it shall be determined ultimately by final order of the Bankruptcy Court that the Trust
Indemnified Parties or any other potential indemnitee are not entitled to be indemnified by the
Trust.

                (c)     The Trustee shall purchase and maintain appropriate amounts and types of
insurance on behalf of the Trust Indemnified Parties, as determined by the Trustee, which may
include liability asserted against or incurred by such individual in that capacity or arising from
his or her status as a Trust Indemnified Party, and/or as an employee, agent, lawyer, advisor or
consultant of any such person.

               (d)    The indemnification provisions of this Trust Agreement with respect to
any Trust Indemnified Party shall survive the termination of such Trust Indemnified Party from
the capacity for which such Trust Indemnified Party is indemnified. Termination or modification
of this Trust Agreement shall not affect any indemnification rights or obligations in existence at
such time. In making a determination with respect to entitlement to indemnification of any Trust
Indemnified Party hereunder, the person, persons or entity making such determination shall
presume that such Trust Indemnified Party is entitled to indemnification under this Trust
Agreement, and any person seeking to overcome such presumption shall have the burden of
proof to overcome the presumption.

                (e)    The rights to indemnification hereunder are not exclusive of other rights
which any Trust Indemnified Party may otherwise have at law or in equity, including common
law rights to indemnification or contribution.

Section 5.10 Bond. The Trustee and the Delaware Trustee shall not be required to post any
bond or other form of surety or security unless otherwise ordered by the Bankruptcy Court.

Section 5.11     Delaware Trustee.

                (a)     There shall at all times be a Delaware Trustee. The Delaware Trustee shall
either be (i) a natural person who is at least twenty-one (21) years of age and a resident of the
State of Delaware, or (ii) a legal entity that has its principal place of business in the State of
Delaware, otherwise meets the requirements of applicable Delaware law to be eligible to serve as
the Delaware Trustee and shall act through one or more persons authorized to bind such entity. If
at any time the Delaware Trustee shall cease to be eligible in accordance with the provisions of
this Section 5.11, it shall resign immediately in the manner and with the effect hereinafter
specified in Section 5.11(c) below. For the avoidance of doubt, the Delaware Trustee will only
have such rights, duties and obligations as expressly provided by reference to the Delaware



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Trustee hereunder. The Trustee shall have no liability for the acts or omissions of any Delaware
Trustee.

                 (b)     The Delaware Trustee shall not be entitled to exercise any powers, nor
shall the Delaware Trustee have any of the duties and responsibilities of the Trustee set forth
herein. The Delaware Trustee shall be a trustee of the Trust for the sole and limited purpose of
fulfilling the requirements of Section 3807(a) of the Act and for taking such actions as are
required to be taken by a Delaware Trustee under the Act. The duties (including fiduciary
duties), liabilities and obligations of the Delaware Trustee shall be limited to accepting legal
process served on the Trust in the State of Delaware and the execution of any certificates
required to be filed with the Secretary of State of the State of Delaware that the Delaware
Trustee is required to execute under Section 3811 of the Act. There shall be no other duties
(including fiduciary duties) or obligations, express or implied, at law or in equity, of the
Delaware Trustee. To the extent that, at law or in equity, the Delaware Trustee has duties
(including fiduciary duties) and liabilities relating to the Trust or the Beneficiaries, such duties
and liabilities are replaced by the duties and liabilities of the Delaware Trustee expressly set
forth in this Trust Agreement. The Delaware Trustee shall have no liability for the acts or
omissions of the Trustee. Any permissive rights of the Delaware Trustee to do things enumerated
in this Trust Agreement shall not be construed as a duty and, with respect to any such permissive
rights, the Delaware Trustee shall not be answerable for other than its willful misconduct, bad
faith or fraud. The Delaware Trustee shall be under no obligation to exercise any of the rights or
powers vested in it by this Trust Agreement at the request or direction of the Trustee or any other
person pursuant to the provisions of this Trust Agreement unless the Trustee or such other
person shall have offered to the Delaware Trustee security or indemnity (satisfactory to the
Delaware Trustee in its discretion) against the costs, expenses and liabilities that may be incurred
by it in compliance with such request or direction. The Delaware Trustee shall be entitled to
request and receive written instructions from the Trustee and shall have no responsibility or
liability for any losses or damages of any nature that may arise from any action taken or not taken
by the Delaware Trustee in accordance with the written direction of the Trustee. The Delaware
Trustee may, at the expense of the Trust, request, rely on and act in accordance with officer’s
certificates and/or opinions of counsel, and shall incur no liability and shall be fully protected in
acting or refraining from acting in accordance with such officer’s certificates and opinions of
counsel.

               (c)    The Delaware Trustee shall serve until such time as the Trustee removes
the Delaware Trustee or the Delaware Trustee resigns and a successor Delaware Trustee is
appointed by the Trustee in accordance with the terms of Section 5.11(d) below. The Delaware
Trustee may resign at any time upon the giving of at least sixty (60) days’ advance written notice
to the Trustee, provided that such resignation shall not become effective unless and until a
successor Delaware Trustee shall have been appointed by the Trustee in accordance with Section
5.11(d) below, provided further, that if any amounts due and owing to the Delaware Trustee
hereunder remain unpaid for more than ninety (90) days, the Delaware Trustee shall be entitled
to resign immediately by giving written notice to the Trustee. If the Trustee does not act within
such sixty (60) day period, the Delaware Trustee, at the expense of the Trust, may apply to the




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Court of Chancery of the State of Delaware or any other court of competent jurisdiction for the
appointment of a successor Delaware Trustee.

               (d)     Upon the resignation or removal of the Delaware Trustee, the Trustee
shall appoint a successor Delaware Trustee by delivering a written instrument to the outgoing
Delaware Trustee. Any successor Delaware Trustee must satisfy the requirements of Section
3807 of the Act. Any resignation or removal of the Delaware Trustee and appointment of a
successor Delaware Trustee shall not become effective until a written acceptance of appointment
is delivered by the successor Delaware Trustee to the outgoing Delaware Trustee and the
Trustee, and any fees and expenses due to the outgoing Delaware Trustee are paid. Following
compliance with the preceding sentence, the successor Delaware Trustee shall become fully
vested with all of the rights, powers, duties and obligations of the outgoing Delaware Trustee
under this Trust Agreement, with like effect as if originally named as Delaware Trustee, and the
outgoing Delaware Trustee shall be discharged of his or her duties and obligations under this
Trust Agreement. The successor Delaware Trustee shall make any related filings required under
the Act, including filing a Certificate of Amendment to the Certificate of Trust in accordance
with Section 3810 of the Act.

               (e)     Notwithstanding anything herein to the contrary, any business entity into
which the Delaware Trustee may be merged or converted or with which it may be consolidated
or any entity resulting from any merger, conversion or consolidation to which the Delaware
Trustee shall be a party, or any entity succeeding to all or substantially all of the corporate trust
business of the Delaware Trustee, shall be the successor of the Delaware Trustee hereunder,
without the execution or filing of any paper or any further act on the part of any of the parties
hereto.

               (f)     The Delaware Trustee shall be entitled to compensation for its services as
agreed pursuant to a separate fee agreement between the Trust and the Delaware Trustee, which
compensation shall be paid by the Trust. Such compensation is intended for the Delaware
Trustee’s services as contemplated by this Trust Agreement. The terms of this paragraph shall
survive termination of this Trust Agreement and/or the earlier resignation or removal of the
Delaware Trustee.

                 (g)     The Delaware Trustee shall neither be responsible for, nor chargeable
with, knowledge of the terms and conditions of any other agreement, instrument or document,
other than this Trust Agreement, whether or not, an original or a copy of such agreement has
been provided to the Delaware Trustee. The Delaware Trustee shall have no duty to know or
inquire as to the performance or nonperformance of any provision of any other agreement,
instrument or document, other than this Trust Agreement. Neither the Delaware Trustee nor any
of its directors, officers, employees, agents or affiliates shall be responsible for nor have any duty
to monitor the performance or any action of the Trust, the Trustee or any other person, or any of
their directors, members, officers, agents, affiliates or employee, nor shall it have any liability in
connection with the malfeasance or nonfeasance by such party. The Delaware Trustee may
assume performance by all such persons of their respective obligations. The Delaware Trustee
shall have no enforcement or notification obligations relating to breaches of representations or
warranties of any other person. The Delaware Trustee shall have no responsibilities (except as


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expressly set forth herein) as to the validity, sufficiency, value, genuineness, ownership or
transferability of any Trust Asset, written instructions, or any other documents in connection
therewith, and will not, be regarded as making nor be required to make, any representations
thereto.

                (h)     The Delaware Trustee shall not be responsible or liable for any failure or
delay in the performance of its obligations under this Trust Agreement arising out of, or caused,
directly or indirectly, by circumstances beyond its control, including without limitation, any act
or provision of any present or future law or regulation or governmental authority; acts of God;
earthquakes; fires; floods; wars; terrorism; civil or military disturbances; sabotage; epidemics;
riots; interruptions, loss or malfunctions of utilities, computer (hardware or software) or
communications service; accidents; labor disputes; acts of civil or military authority or
governmental actions; or the unavailability of the Federal Reserve Bank wire or telex or other
wire or communication facility.

Section 5.12     Meeting Minutes.

        The minutes of proceedings of the Trustee shall be kept in written form (which may be
electronic) at such place or places designated by the Trustee, or, in the absence of such
designation, at the principal office of the Trust.

Section 5.13     Matters Requiring Consultation with STAC and FCR.

        The Trustee shall consult with the STAC and the FCR on each of the following:

                 (a)      The form(s) of release to be executed by a Beneficiary;

                 (b)      An annual estimate of the budget for the Trust Operating Expenses; and

               (c)    The administration, investment of assets of, and expenses to be charged
against the Future Abuse Claims Reserve;

Section 5.14     Matters Requiring Consent of STAC and FCR.

        The Trustee shall obtain the consent of the STAC and the FCR for each of the following:

               (a)    The determination of the Initial Payment Percentage and any subsequent
adjustment to the Payment Percentage;

                 (b)      Any proposed modification to the indemnification provisions of the Trust
Agreement;

               (c)    Any proposed sale, transfer or exchange of Trust Assets above $[●] (any
proposed sale of Trust Assets below such amount shall not require STAC and FCR consent);

               (d)    Any proposed material modifications to the Trust Agreement and/or the
TDP, if and as required by the consent provisions set forth therein;



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                 (e)      Any proposed increase or decrease in the size of the Future Abuse Claims
Reserve;

              (f)     The commencement or continuation of a lawsuit by Direct Abuse
Claimants against the Trust pursuant to a STAC Tort Election Claim, as set forth in Article XII.C
of the TDP; and

              (g)     The form and substance of the questionnaire required in connection with a
Trust Claim Submission under the TDP (which is to be executed under oath by the Abuse
Claimant individually (or an executor)).

Section 5.15 Matters Requiring Special Approval: PP Settlements, Limited Protected Party
Injunction Date Extensions and Certain Employment Matters.

                 (a)      PP Settlements.

                In addition to limitations otherwise set forth in the Trust Documents including
Section 2.2 above, any PP Settlement with a Chartered Organization or Insurance Company must
be in an amount acceptable to the Trustee and obtain the approval of at least four (4) STAC
members; provided, however, (i) if the Trustee recommends such a PP Settlement and the FCR
approves of the proposed PP Settlement, but the STAC does not approve the proposed PP
Settlement (irrespective of the STAC vote), then the FCR may seek Bankruptcy Court approval
of the proposed PP Settlement, which approval must be obtained for the Trustee to effectuate the
PP Settlement, or (ii) if the Trustee has approval from the STAC and desires to enter into the PP
Settlement and any member of the STAC or the FCR does not support the PP Settlement and
requests Bankruptcy Court approval, then the Trustee must seek Bankruptcy Court approval of
such PP Settlement, which approval must be obtained for the Trustee to effectuate the PP
Settlement. The Trustee may appear and be heard in connection with any motion brought with
respect to approval of any such PP Settlement. If Bankruptcy Court approval is sought, the
Trustee must provide notice to the affected parties and approval of the PP Settlement shall be
reviewed by the Bankruptcy Court under the entire fairness standard and must be found to be in
the best interest of the beneficiaries of the Trust. The members of the STAC may hire counsel at
the expense of the Trust to oppose any such PP Settlement before the Bankruptcy Court; and

                 (b)      Limited Protected Party Injunction Date Extensions.

                     (i)     Extensions of the Limited Protected Party Injunction Date for the
Post-Confirmation Interim Injunction may be granted by the Settlement Trust as follows:




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                              (A)     First Extension: A six (6) month extension of the Plan’s
initial Limited Protected Party Injunction Date may be afforded with the approval of a majority
of the STAC and the consent of the FCR to any Chartered Organization that is a Limited
Protected Party, and for which the Trustee articulates good cause for believing that the Trust
might settle with such Chartered Organization on a global basis (the “First Extension”),
provided that unanimous approval of the STAC and FCR are required to afford the First
Extension to any Chartered Organizations that individually, or in combination with other
Chartered Organizations with which they are organizationally affiliated, are named in fewer than
25 Proofs of Claim filed by Direct Abuse Claimants;

                             (B)    Second Extension: A subsequent six (6) month extension
of the First Extension may be afforded with unanimous approval of the STAC and FCR to any
Chartered Organization for which an extension was granted as described in Section
5.15(b)(i)(A)_ above with which the Trustee is negotiating to finalize settlement (the “Second
Extension”); and

                              (C)     Further Extension: An extension beyond the Second
Extension may be afforded with unanimous approval of the STAC and FCR and approval of the
Bankruptcy Court to any Chartered Organization for which an extension was granted as
described in Section 5.15(b)(i)(B) above.

                     (ii)    Within thirty (30) days after the expiration of the initial Limited
Protected Party Injunction Date and each extension thereof in Section 5.15(b)(i)(A)-(C), the
Trustee shall publish a list of the Chartered Organizations that are subject to the
Post-Confirmation Interim Injunction.

                 (c)      Certain Employment Matters:

              The Trustee must obtain the following support for the employment of the
following Persons:

                      (i) At least five (5) members of the STAC and the reasonable consent of
the FCR for employment of: a successor Claims Administrator pursuant to Section 4.1(a);
Neutrals pursuant to Section 4.1(b); Claims Administrator Professionals pursuant to Section 4.7;
and Trustee Professionals pursuant to Section 5.16; and

                      (ii) At least five (5) members of the STAC for employment of STAC
Professionals pursuant to Section 5.16.

Section 5.16     Trustee’s and STAC’s Employment of Professionals.

       (a)                    The Trustee may, but is not required to, retain and/or consult legal
counsel, accountants, appraisers, auditors, forecasters, experts, financial and investment advisors
and such other parties deemed appropriate by the Trustee to assist in matters for the Trust within
the Trustee’s purview (the “Trustee Professionals”), provided however that the selection of




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such professional(s) shall be approved by at least five (5) members of the STAC with the
reasonable consent of the FCR.

       (b)     The STAC may, but is not required to, retain and/or consult legal counsel,
accountants, appraisers, auditors, forecasters, experts, financial and investment advisors and such
other parties deemed appropriate by the STAC to assist in matters within the STAC’s purview
(the “STAC Professionals”), provided however that (i) the selection of such professional(s)
shall be approved by at least five (5) members of the STAC, and (ii) selection of STAC
Professionals under this Section 5.16(b) is separate from and has no effect on the retention of
counsel by members of the STAC under Section 5.15(a) to oppose a PP Settlement.

                                     ARTICLE 6.
                        SETTLEMENT TRUST ADVISORY COMMITTEE

Section 6.1     Members; Action by Members. The STAC shall be composed of seven (7)
members appointed to represent the interests of holders of current Abuse Claims. Three (3)
members of the STAC have been appointed by the Coalition of Abused Scouts for Justice (the
“Coalition” and such individuals, the “Coalition Appointees”), three (3) members of the STAC
have been appointed by the Official Committee of Tort Claimants (the “TCC” and such
individuals, the “Committee Appointees”), and one (1) member of the STAC has been
appointed by Pfau, Cochran, Vertetis Amala PLLC and The Zalkin Law Firm, P.C. (hereinafter,
with their successors, “Pfau/Zalkin,” and such individual, the “Pfau/Zalkin Appointee”).
Additional alternates may be designated prior to the commencement of the Confirmation Hearing
on the Plan, if proposed by the TCC, Coalition and Pfau/Zalkin, and publicly identified thereby
or thereat and may be designated after the Effective Date by, as applicable, the Committee
Appointees, Coalition Appointees or Pfau/Zalkin Appointees subject to the same consent rights
applicable to the appointment of successor STAC members in Section 6.6 hereof.

       The initial STAC members shall consist of the following (a) Coalition Appointees: (1)
Adam Slater; (2) Sean Higgins; (3) Kenneth M. Rothweiler; (b) Committee Appointees: (1)
Jordan Merson; (2) Paul Mones; (3) Christopher Hurley; and (c) the Pfau/Zalkin Appointee: (1)
Irwin Zalkin. The alternate STAC members are: (1) Deborah Levy (Coalition); (2) Peter Janci
(Committee); and (3) Michael Pfau (Pfau/Zalkin).

        Except as otherwise set forth in the Trust Documents, the STAC shall act by majority
vote of STAC members then serving, provided however, the STAC may continue to act in the
event of one or more vacancies on the STAC, in which case majority vote of the STAC members
then serving shall be required for action by the STAC.




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Section 6.2     Duties. The members of the STAC (and their designees) shall serve in a fiduciary
capacity representing current holders of Abuse Claims. The STAC shall not have any fiduciary
duties or responsibilities to any party other than holders of current Abuse Claims. Except for the
duties and obligations expressed in this Trust Agreement and the TDP, there shall be no other
duties (including fiduciary duties) or obligations, express or implied, at law or in equity, of the
STAC. To the extent that, at law or in equity, the STAC has duties (including fiduciary duties)
and liabilities relating thereto to the Trust, the other parties hereto, or any Beneficiary, such
duties and liabilities are replaced by the duties and liabilities of the STAC expressly set forth in
this Trust Agreement and the TDP. The applicable designated alternate STAC member for
another STAC member may vote and act in that STAC member’s stead when that STAC
member is unavailable.

Section 6.3      STAC Information Rights.

        The STAC shall have reasonable access to the Trust’s consultants and other advisors
retained by the Trust and its staff (if any), and information available to the Trustee, which access
shall be made available as determined by the Trustee in his or her discretion.

Section 6.4      [Reserved.]

Section 6.5      Term of Office.

                (a)   Each member of the STAC shall serve until the earliest of (i) his or her
death, (ii) his or her resignation pursuant to Section 6.5(b) below, (iii) his or her removal
pursuant to Section 6.5(c) below, and (iv) the termination of the Trust pursuant to Section 8.2
below.

                (b)    A member of the STAC may resign at any time by written notice to the
other members of the STAC and the Trustee. Such notice shall specify a date when such
resignation shall take effect, which shall not be less than thirty (30) days after the date such
notice is given, where practicable.

                (c)    A member of the STAC may be removed in the event that he or she
becomes unable to discharge his or her duties hereunder due to accident, physical deterioration,
mental incompetence, or for other good cause, provided the member of the STAC has received
reasonable notice and an opportunity to be heard. Other good cause shall mean fraud,
self-dealing, intentional misrepresentation, willful misconduct, indictment for or conviction of a
felony in each case whether or not connected to the Trust or a consistent pattern of neglect and
failure to perform or to participate in performing the duties of such member hereunder, such as
repeated non-attendance at scheduled meetings. Such removal shall require the majority vote of
the other members of the STAC and such removal shall take effect only upon the approval of the
Bankruptcy Court.

Section 6.6      Appointment of Successor.

              (a)   In the event of a STAC member vacancy, (i) if the vacancy has occurred
with respect to a Coalition Member, the remaining Coalition Members shall nominate a


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successor STAC Member, (ii) if the vacancy has occurred with respect to a Committee Member,
the remaining Committee Members shall nominate a successor STAC Member, (iii) if the
vacancy has occurred with respect to a Pfau/Zalkin Member, Pfau/Zalkin shall nominate a
successor STAC Member. Successor STAC members appointed by the Coalition Members shall
be subject to the consent of at least fifty percent (50%) of the Committee Members and the
Pfau/Zalkin Member, successor STAC Members appointed by the Committee Members shall be
subject to the consent of at least fifty percent (50%) of the Coalition Members and Pfau/Zalkin
Member, and a successor STAC member appointed by Pfau/Zalkin shall be subject to the
consent of at least fifty percent (50%) of the Coalition and Committee Members; provided,
however, that if such consent is withheld, the Member(s) seeking to appoint a successor STAC
Member may seek a ruling from the Bankruptcy Court that the consent was unreasonably
withheld and that the successor STAC Member may be appointed; and provided, further, that if
an alternate is nominated to be a successor STAC Member, all necessary consents shall be
deemed to have been granted.

                (b)     Each successor member of the STAC shall serve until the earliest of (i) his
or her death, (ii) his or her resignation pursuant to Section 6.5(b) above, (iii) his or her removal
pursuant to Section 6.5(c) above, and (iv) the termination of the Trust pursuant to Section 8.2
below.

               (c)     No successor STAC member shall be liable personally for any act or
omission of his or her predecessor STAC member. No successor STAC member shall have any
duty to investigate the acts or omissions of his or her predecessor STAC member. No STAC
member shall be required to post any bond or other form of surety or security unless otherwise
ordered by the Bankruptcy Court.

Section 6.7    Compensation and Expenses of the STAC. The members of the STAC (or their
designees, as applicable) shall not be entitled to compensation for their services but shall be
reimbursed promptly for all reasonable and documented ordinary and customary out-of-pocket
costs and expenses incurred in connection with the performance of their duties hereunder,
subject to the limitation of Section 8.16 below. The Trust shall include a description of the
amounts paid under this Section 6.7 in the Annual Report to be posted on the Trust’s Website.

Section 6.8      Procedures for Consultation with and Obtaining the Consent of the STAC.

                 (a)      Consultation Process.

                       (i)    In the event the Trustee is required to consult with the STAC
pursuant to Section 5.13 above, the Trustee shall provide the STAC with written advance notice
of the matter under consideration, to the extent practicable, and with all relevant information and
documents concerning the matter as is reasonably practicable under the circumstances. The
Trustee shall also provide the STAC with such reasonable access to the consultants and other
advisors retained by the Trust and its staff (if any) as the STAC may reasonably request during
the time that the Trustee is considering such matter, and shall also provide the STAC the
opportunity, at reasonable times and for reasonable periods of time, to discuss and comment on
such matter with the Trustee, to the extent practicable.



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                        (ii)    In determining when to take definitive action on any matter subject
to the consultation procedures set forth in this Section 6.8(a), the Trustee shall take into
consideration the time required for the STAC to meet and consult as to such matter. In any event,
the Trustee shall not take definitive action on any such matter until at least [●] business days
after providing the STAC with the initial written notice that such matter is under consideration
by the Trustee, unless such time period is waived in writing by the STAC or at a meeting where
the STAC and Trustee are present, or the Trustee determines in his reasonable discretion that
definitive action is required earlier.

                 (b)      Consent Process.

                        (i)    In the event the Trustee is required to obtain the consent of the
STAC pursuant to the Trust Documents, the Trustee shall provide the STAC with a written
notice stating that its consent is being sought, describing in detail the nature and scope of the
action the Trustee proposes to take, and explaining in detail the reasons why the Trustee desires
to take such action. The Trustee shall provide the STAC as much relevant additional information
concerning the proposed action as is requested by the STAC and as is reasonably practicable
under the circumstances. The Trustee shall also provide the STAC with such reasonable access
to the Trust consultants and other advisors retained by the Trust and its staff (if any) as the STAC
may reasonably request during the time that the Trustee is considering such action, and shall also
provide the STAC the opportunity, at reasonable times and for reasonable periods of time, to
discuss and comment on such action with the Trustee.

                       (ii)    For matters not requiring supermajority consent of the STAC and
subject to the provisions of Section 5.14 above:

                               (A)    The STAC must consider in good faith and in a timely
fashion any request for its consent by the Trustee, and must in any event advise the Trustee, in
writing, of its consent or its objection to the proposed action within [●] business days of
receiving the original request for consent from the Trustee, unless the Trustee extends the time
for such response. The STAC may not withhold its consent unreasonably. If the STAC decides to
withhold its consent, it must explain in detail its objections to the proposed action. If the STAC
does not advise the Trustee, in writing, of its consent or its objections to the action within [●]
business days of receiving notice regarding such request (or within such additional time as may
be granted by the Trustee in his or her discretion), the STAC’s consent to the proposed actions
shall be deemed to have been affirmatively granted.

                              (B)     If, after following the procedures specified in this Section
6.8(b), the STAC continues to object to the proposed action and to withhold its consent to the
proposed action, the Trustee and/or the STAC shall resolve their dispute pursuant to Section 8.16
below, provided however in that event the STAC shall have the burden of proof to show the
validity of the STAC’s objection.

                    For the avoidance of doubt, for all matters requiring supermajority consent
of the STAC, except with respect to matters requiring supermajority consent as set forth in




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Section 5.15(c), the failure to obtain the requisite supermajority consent shall preclude the
proposed action.

                                            ARTICLE 7.
                                             THE FCR

Section 7.1     Duties. There shall be one FCR for the Trust. The initial FCR is James L. Patton,
Jr. so long as he is the FCR in the Chapter 11 Cases as of the Effective Date. The FCR shall
serve in a fiduciary capacity on behalf of the holders of Future Abuse Claims, representing the
interests of holders of Future Abuse Claims against the Debtors for the purpose of protecting the
rights of such persons. The FCR shall not have any fiduciary duties or responsibilities to any
party other than the holders of Future Abuse Claims. Except for the duties and obligations
expressed in the Trust Documents, there shall be no other duties (including fiduciary duties) or
obligations, express or implied, at law or in equity, of the FCR. To the extent that, at law or in
equity, the FCR has duties (including fiduciary duties) and liabilities relating thereto to the Trust,
the other parties hereto, or to any Beneficiary, such duties and liabilities are replaced by the
duties and liabilities of the FCR expressly set forth in the Trust Documents.

Section 7.2      FCR Information Rights.

        The FCR shall have reasonable access to the Trust’s consultants and other advisors
retained by the Trust and its staff (if any), and information available to the Trustee, which access
shall be made available as determined by the Trustee.

Section 7.3      Term of Office.

               (a)     The FCR shall serve until the earliest of (i) his or her death, (ii) his or her
resignation pursuant to Section 7.3(b) below, (iii) his or her removal pursuant to Section 7.3(c)
below, and (iv) the termination of the Trust pursuant to Section 8.2 below.

               (b)      The FCR may resign at any time by written notice to the Trustee. Such
notice shall specify a date when such resignation shall take effect, which shall not be less than
ninety (90) days after the date such notice is given, where practicable.

                (c)    At the request of the Trustee, the FCR may be removed by the Bankruptcy
Court in the event he or she becomes unable to discharge his or her duties hereunder due to
accident, physical deterioration, mental incompetence, or for other good cause, provided the FCR
has received notice and an opportunity to be heard. Other good cause shall mean fraud,
self-dealing, intentional misrepresentation, willful misconduct, indictment for or conviction of a
felony in each case whether or not connected to the Trust or a consistent pattern of neglect and
failure to perform or to participate in performing the duties hereunder, such as a pattern of
repeated non-attendance at scheduled meetings.




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Section 7.4      Appointment of Successor. In the event of the death, resignation or removal of
James L. Patton, Jr. as the initial FCR, such vacancy shall immediately be filled by a successor to
be appointed pursuant to the terms and conditions of this agreement, who shall thereafter serve
as FCR pursuant to the terms of the Trust Documents. In the event of the death, resignation, or
removal of any successor FCR, such vacancy shall be filled with an individual nominated by the
Trustee, with the consent of the STAC. In the event the STAC does not consent to the individual
nominated by the Trustee, then the successor FCR shall be appointed by the Bankruptcy Court.
Immediately upon any successor FCR filing a vacancy as provided in this Section 7.4, all rights,
titles, duties, powers and authority of the predecessor FCR hereunder shall be vested in and
undertaken by the successor FCR without any further act. No successor FCR shall be liable
personally for any act or omission of any predecessor FCR. No predecessor FCR shall be liable
personally for any act or omission of any successor FCR. No FCR shall be required to post any
bond or other form of surety of security unless otherwise ordered by the Bankruptcy Court.

Section 7.5    FCR’s Employment of Professionals. The FCR may, but is not required to, retain
and/or consult legal counsel, accountants, appraisers, auditors, forecasters, experts, financial and
investment advisors and such other parties deemed by the FCR to be qualified as experts on
matters submitted to the FCR (the “FCR Professionals”), provided however that no FCR
Professionals may be retained to act on behalf of any individual holder of an Abuse Claim.

               (b)    The fees and expenses of the FCR Professionals shall be paid from the
Future Abuse Reserve Fund and a description of the amounts paid under this Section 7.5 (in the
aggregate with the amounts paid under Section 7.6 below) shall be described in the Annual
Report to be posted on the Trust Website.

Section 7.6      Compensation and Expenses of the FCR.

               (a)    The FCR shall receive compensation from the Trust in the form of
payment at the FCR’s normal hourly rate, as such rate may be adjusted by the FCR from time to
time, for services performed, subject to the approval of the Trustee. The Trust will promptly
reimburse the FCR for all reasonable and documented out-of-pocket costs and expenses incurred
by the FCR in connection with the performance of his or her duties hereunder.

               (b)     The compensation, out-of-pocket costs and expenses of the FCR shall be
paid from the Future Abuse Reserve Fund and a description of the amounts paid under this
Section 7.6 (in the aggregate with the amounts paid under Section 7.5 above) shall be described
in the Annual Report to be posted on the Trust Website.

Section 7.7      Procedures for Consultation with and Obtaining the Consent of the FCR.

                 (a)      Consultation Process.

                       (i)    In the event the Trustee is required to consult with the FCR
pursuant to Section 5.13 above, the Trustee shall provide the FCR with written advance notice of
the matter under consideration, and with all relevant information and documents concerning the
matter as is reasonably practicable under the circumstances, to the extent practicable. The
Trustee shall also provide the FCR with such reasonable access to the Trust’s consultants and


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other advisors retained by the Trust and its staff (if any) as the FCR may reasonably request
during the time that the Trustee is considering such matter, and shall also provide the FCR the
opportunity, at reasonable times and for reasonable periods of time, to discuss and comment on
such matter with the Trustee, to the extent practicable.

                       (ii)    In determining when to take definitive action on any matter subject
to the consultation process set forth in this Section 7.7(a), the Trustee shall take into
consideration the time required for the FCR, if he or she so wishes, to engage and consult with
his or her own independent advisors as to such matter. In any event, the Trustee shall not take
definitive action on any such matter until at least [●] business days after providing the FCR with
the initial written notice that such matter is under consideration by the Trustee, unless such
period is waived in writing by the FCR or at a meeting where the FCR and Trustee are present or
the Trustee determines in his reasonable discretion that definitive action is required earlier.

                 (b)      Consent Process.

                        (i)     In the event the Trustee is required to obtain the consent of the
FCR pursuant to the Trust Documents, the Trustee shall provide the FCR with a written notice
stating that his or her consent is being sought, describing in detail the nature and scope of the
action the Trustee proposes to take, and explaining in detail the reasons why the Trustee desires
to take such action, to the extent practicable. The Trustee shall provide the FCR as much relevant
additional information concerning the proposed action as is requested by the FCR and as is
reasonably practicable under the circumstances. The Trustee shall also provide the FCR with
such reasonable access to the Trust’s consultants and other advisors retained by the Trust and its
staff (if any) as the FCR may reasonably request during the time that the Trustee is considering
such action, and shall also provide the FCR the opportunity, at reasonable times and for
reasonable periods of time, to discuss and comment on such action with the Trustee, to the extent
practicable.

                        (ii)    The FCR must consider in good faith and in a timely fashion any
request for his or her consent by the Trustee, and must in any event advise the Trustee, in
writing, of his or her consent or objection to the proposed action within [●] business days of
receiving the original request for consent from the Trustee, unless the Trustee extends the time
for such response. The FCR may not withhold his or her consent unreasonably. If the FCR
decides to withhold consent, he or she must explain in detail his or her objections to the
proposed action. If the FCR does not advise the Trustee, in writing, of his or her consent or
objection to the proposed action within [●] business days of receiving the notice from the
Trustee regarding such request (or within such additional time as may be granted by the Trustee
in his or her discretion), the FCR’s consent shall be deemed to have been affirmatively granted.

                       (iii) If, after following, the procedures specified in this Section 7.7(b),
the FCR continues to object to the proposed action and to withhold his or her consent to the
proposed action, the Trustee and/or the FCR shall resolve their dispute pursuant to Section 8.16
below, provided however in that event the FCR shall have the burden of proof to show the
validity of the FCR’s objection.




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                                       ARTICLE 8.
                                   GENERAL PROVISIONS

Section 8.1    Irrevocability. To the fullest extent permitted by applicable law, the Trust is
irrevocable. The Settlor shall not (i) retain any ownership or residual interest whatsoever with
respect to any Trust Assets, including, but not limited to, the funds transferred to fund the Trust,
and (ii) have any rights or role with respect to the management or operation of the Trust, or the
Trustee’s administration of the Trust.

Section 8.2      Term; Termination.

                (a)      The term for which the Trust is to exist shall commence on the date of the
filing of the Certificate of Trust and shall terminate pursuant to the following provisions.

                (b)   The Trust shall automatically dissolve as soon as practicable but no later
than ninety (90) days after the date on which the Bankruptcy Court approves the dissolution of
the Trust because (i) all reasonably expected assets have been collected by the Trust, (ii) all
distributions have been made to the extent set forth in the TDP, (iii) necessary arrangements and
reserves have been made to discharge all anticipated remaining Trust obligations and Trust
Operating Expenses in a manner consistent with the Trust Documents, and (iv) a final
accounting has been filed and approved by the Bankruptcy Court (the “Dissolution Date”).

                (c)     Following the dissolution and distribution of the Trust Assets, the Trust
shall terminate, and the Trustee and the Delaware Trustee (acting solely at the written direction
of the Trustee) shall execute and cause a Certificate of Cancellation of the Certificate of Trust to
be filed in accordance with the Act. Notwithstanding anything to the contrary contained in this
Trust Agreement, the existence of the Trust as a separate legal entity shall continue until the
filing of such Certificate of Cancellation.

               (d)      After termination of the Trust and solely for the purpose of liquidating and
winding up its affairs, the Trustee shall continue to act as Trustee until its duties hereunder have
been fully performed. The Trustee shall retain the books, records, documents and files that shall
have been delivered to or created by the Trustee until distribution of all the Trust Assets. For
purposes of this provision, Trust Assets will be deemed distributed when the total amount
remaining in the Trust is less than $50,000 and no further actions are pending or have yet to be
brought. At the Trustee’s discretion, all of such books, records, documents and files may be
destroyed at any time following the later of: (i) the first anniversary of the final distribution of
the Trust Assets, and (ii) the date until which the Trustee is required by applicable law to retain
such books, records, documents and files; provided however, that, notwithstanding the
foregoing, the Trustee shall not destroy or discard any books, records, documents or files relating
to the Trust without giving Reorganized BSA the opportunity to take control of such books,
records, documents and/or files.

                (e)    Upon termination of the Trust and accomplishment of all activities
described in this agreement, the Trustee and its professionals shall be discharged and exculpated
from liability (except for acts or omissions resulting from the recklessness, gross negligence,
willful misconduct, knowing and material violation of law or fraud of the Trustee or his agents or


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representatives). The Trustee may, at the expense of the Trust, seek an Order of the Bankruptcy
Court confirming the discharges, exculpations and exoneration referenced in the preceding
sentence.

Section 8.3      Outgoing Trustee Obligations.

       In the event of the resignation or removal of the Trustee, the resigning or removed
Trustee shall:

               (a)     execute and deliver by the effective date of resignation or removal such
documents, instruments, records and other writings as may be reasonably requested by the
successor Trustee to effect such resignation or removal and the conveyance of the Trust Assets
then held by the resigning or removed Trustee to the successor Trustee;

               (b)     deliver to the successor Trustee all documents, instruments, records and
other writings relating to the Trust Assets as may be in the possession or under the control of the
resigning or removed Trustee;

             (c)     otherwise assist and cooperate in effecting the assumption of the resigning
or removed Trustee’s obligations and functions by the successor Trustee; and

               (d)     irrevocably appoint the successor Trustee (and any interim trustee) as its
attorney-in-fact and agent with full power of substitution for it and its name, place and stead to
do any and all acts that such resigning or removed Trustee is obligated to perform under this
Trust Agreement. Such appointment shall not be affected by the subsequent disability or
incompetence of the Trustee making such appointment. The Bankruptcy Court also may enter
such orders as are necessary to effect the termination of the appointment of the Trustee and the
appointment of the successor Trustee.

Section 8.4      Taxes.

              (a)    The Trust is intended to qualify as a “qualified settlement fund” within the
meaning of Section 1.468B-1 et seq. of the Treasury Regulations promulgated under Section
468B of the IRC, as amended (the “QSF Regulations”), with respect to which Reorganized BSA
shall timely make an election to treat the Trust as a “grantor trust” for U.S. federal income tax
purposes and, to the extent permitted under applicable law, for state and local income tax
purposes.

                (b)     The Trustee shall be the “administrator” of the Trust within the meaning
of Section 1.468B-2(k)(3) of the Treasury Regulations and, in such capacity, such administrator
shall (i) prepare and timely file, or cause to be prepared and timely filed, such income tax and
other tax returns and statements required to be filed and shall timely pay all taxes required to be
paid by the Trust out of the Trust Assets, which assets may be sold by the Trustee to the extent
necessary to satisfy tax liabilities of the Trust, (ii) comply with all applicable tax reporting and
withholding obligations, (iii) satisfy all requirements necessary to qualify and maintain
qualification of Trust as a qualified settlement fund and a grantor trust, within the meaning of the
QSF Regulations, and (iv) take no action that could cause the Trust to fail to qualify as a


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qualified settlement fund and a grantor trust within the meaning of the QSF Regulations. The
Trustee may request an expedited determination under section 505(b) of the Bankruptcy Code for
all tax returns filed by or on behalf of the Trust for all taxable periods through the Dissolution
Date.

                (c)    As soon as reasonably practicable after the Effective Date, but in no event
later than one hundred twenty (120) days thereafter, the Trust shall make a good faith valuation
of the Aggregate Settlement Consideration and such valuation shall be used consistently by all
parties for all U.S. federal income tax purposes. In connection with the preparation of the
valuation contemplated hereby, the Trust shall be entitled to retain such professionals and
advisors as the Trustee shall determine to be appropriate or necessary, and the Trustee shall take
such other actions in connection therewith as he or she determines to be appropriate or necessary.

                (d)     The Trustee may withhold and pay to the appropriate tax authority all
amounts required to be withheld pursuant to the IRC or any provision of any foreign, state or
local tax law with respect to any payment or distribution. All such amounts withheld and paid to
the appropriate tax authority (or placed in escrow pending resolution of the need to withhold)
shall be treated as amounts distributed or paid for all purposes of this Trust Agreement. The
Trustee shall be authorized to collect such tax information (including tax identification numbers)
as in his or her sole discretion is deemed necessary to effectuate the Plan, the Confirmation
Order and this Trust Agreement. In order to receive distributions, all Beneficiaries shall be
required to provide tax information to the Trustee to the extent the Trustee deems appropriate in
the manner and in accordance with the procedures from time to time established by the Trustee
for these purposes. The Trustee may refuse to make a payment or distribution unless or until
such information is delivered; provided however, that, upon the delivery of such information, the
Trustee shall make such delayed payment or distribution, without interest. Notwithstanding the
foregoing, if a person fails to furnish any tax information reasonably requested by the Trustee
before the date that is three hundred sixty-five (365) calendar days after the request is made, the
amount of such distribution shall irrevocably revert to the Trust. In no event shall any escheat to
any federal, state or local government or any other entity.

                (e)    The Trust agrees to indemnify, defend and hold Reorganized BSA and its
affiliates harmless on an after-tax basis from and against: (i) all taxes, losses, claims and
expenses imposed on, asserted against or attributable to the properties, income or operations of
Reorganized BSA or its affiliates or any Taxes for which Reorganized BSA or its affiliates are
otherwise liable, in each case resulting from, arising out of, or incurred with respect to, any
claims that may be asserted by any party based on, attributable to, or resulting from the election
to treat the Trust as a “grantor trust” within the meaning of the QSF Regulations pursuant to
Section 8.4(a).

Section 8.5      Modification.

                (a)   Material modifications to this Trust Agreement, including Exhibits hereto,
may be made only with the consent of the Trustee, the majority of the STAC, and the FCR
(which consent in each case shall not be unreasonably withheld, conditioned or delayed) and
subject to the approval of the Bankruptcy Court; provided however, that the Trustee may amend
this Trust Agreement from time to time without the consent, approval or other authorization of,

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but with notice to, the Bankruptcy Court, to make minor corrective or clarifying amendments
necessary to enable the Trustee to effectuate the provisions of this Trust Agreement, provided
such minor corrective or clarifying amendments shall not take effect until ten (10) days after
notice to the Bankruptcy Court. Except as permitted pursuant to the preceding sentence, the
Trustee shall not modify this Trust Agreement in any manner that is inconsistent with the Plan or
the Confirmation Order without the approval of the Bankruptcy Court. The Trustee shall file
notice of any modification of this Trust Agreement with the Bankruptcy Court and post such
notice on the Trust Website.

                (b)   Notwithstanding subsection (a) of this Section 8.5, no material
modifications may be made to Section 2.2(b), Section 5.15, Section 6.6, and this Section 8.5(b)
of this Trust Agreement without the consent of the Trustee, the unanimous consent of the STAC,
the consent of the FCR and subject to the approval of the Bankruptcy Court.

               (c)     Notwithstanding anything set forth in this Trust Agreement to the
contrary, none of this Trust Agreement, nor any document related thereto shall be modified or
amended in any way that could jeopardize or impair (i) the applicability of section 105 of the
Bankruptcy Code to the Plan and the Confirmation Order, (ii) the efficacy or enforceability of the
Channeling Injunction or any other injunction or release issued or granted in connection with the
Plan and Confirmation Order, (iii) the Trust’s qualified settlement fund status and grantor trust
status under the QSF Regulations, or (iv) the rights, duties, liabilities and obligations of the
Delaware Trustee without the written consent of the Delaware Trustee.

Section 8.6    Communications. The Trustee shall establish and maintain the Trust Website and
post on the Trust Website the information required by this Trust Agreement, and such other
information as the Trustee determines.

Section 8.7    Severability. If any provision of this Trust Agreement or application thereof to
any person or circumstance shall be finally determined by a court of competent jurisdiction to be
invalid or unenforceable to any extent, the remainder of this Trust Agreement, or the application
of such provisions to persons or circumstances other than those as to which it is held invalid or
unenforceable, shall not be affected thereby, and such provision of this Trust Agreement shall be
valid and enforced to the fullest extent permitted by law.

Section 8.8    Notices. Any notices or other communications required or permitted hereunder to
the following parties shall be in writing and delivered at the addresses designated below, or sent
by email or facsimile pursuant to the instructions listed below, or mailed by overnight courier,
addressed as follows, or to such other address or addresses as may hereafter be furnished in
writing to each of the other parties listed below in compliance with the terms hereof.

        To the Trustee:

        with a copy (which shall not constitute notice) to:




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        To the Delaware Trustee:

        with a copy (which shall not constitute notice) to:



        To the FCR:

        with a copy (which shall not constitute notice) to:



        To the STAC:

        with a copy (which shall not constitute notice) to:



        To Reorganized BSA:

        with a copy (which shall not constitute notice) to:

        All such notices and communications, if mailed, shall be effective when physically
delivered at the designated addresses, or if electronically transmitted, shall be effective upon
transmission.




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Section 8.9     Successors and Assigns. The provisions of this Trust Agreement shall be binding
upon and inure to the benefit of the Trust, the Trustee, the STAC, the FCR, the Delaware Trustee
and their respective successors and assigns, except that none of such persons may assign or
otherwise transfer any of its, or their, rights or obligations under this Trust Agreement except, in
the case of the Trust and the Trustee, as contemplated by Section 2.1 and Section 5.2 above, and
in the case of the Delaware Trustee, as contemplated by Section 5.11 above.

Section 8.10 Limitation on Transferability; Beneficiaries’ Interests. The Beneficiaries’
interests in the Trust shall not (a) be assigned, conveyed, hypothecated, pledged or otherwise
transferred, voluntarily or involuntarily, directly or indirectly and any purported assignment,
conveyance, pledge or transfer shall be null and void ab initio; (b) be evidenced by a certificate
or other instrument; (c) possess any voting rights; (d) give rise to any right or rights to participate
in the management or administration of the Trust or the Trust Assets; (e) entitle the holders
thereof to seek the removal or replacement of any Trustee, whether by petition to the Bankruptcy
Court or any other court or otherwise; (f) entitle the holders thereof to receive any interest on
distributions; and (g) give rise to any rights to seek a partition or division of the Trust Assets. In
accordance with the Act, the Beneficiaries shall have no interest of any kind in any of the Trust
Assets; rather, the Beneficiaries shall have an undivided beneficial interest only in cash assets of
but only to the extent such cash assets are declared by the Trustee to be distributable as
distributions in accordance with the Trust Documents. For the avoidance of doubt, the
Beneficiaries shall have only such rights as expressly set forth in the Trust Documents.

Section 8.11     Exemption from Registration.

        The Parties hereto intend that the rights of the Beneficiaries arising under this Trust
Agreement shall not be “securities” under applicable laws, but none of the Parties hereto
represent or warrant that such rights shall not be securities or shall be entitled to exemption from
registration under applicable securities laws. If it should be determined that any such interests
constitute “securities,” the Parties hereto intend that the exemption provisions of section 1145 of
the Bankruptcy Code will be satisfied and the offer and sale under the Plan of the beneficial
interests in the Trust will be exempt from registration under the Securities Act, all rules and
regulations promulgated thereunder, and all applicable state and local securities laws and
regulations.

Section 8.12     Entire Agreement; No Waiver.

        The entire agreement of the parties relating to the subject matter of this Trust Agreement
is contained herein and in the documents referred to herein, and this Trust Agreement and such
documents supersede any prior oral or written agreements concerning the subject matter hereof.
No failure to exercise or delay in exercising any right, power or privilege hereunder shall operate
as a waiver thereof, nor shall any single or partial exercise of any right, power or privilege
hereunder preclude any further exercise thereof or of any other right, power or privilege. The
rights and remedies herein provided are cumulative and are not exclusive of rights under law or
in equity.




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Section 8.13 Headings. The headings used in this Trust Agreement are inserted for
convenience only and do not constitute a portion of this Trust Agreement, nor in any manner
affect the construction of the provisions of this Trust Agreement.

Section 8.14     Governing Law.

        This Trust Agreement shall be governed by, and construed in accordance with, the laws
of the State of Delaware, without regard to the conflicts of law provisions thereof which would
purport to apply the law of any other jurisdiction. For the avoidance of doubt, none of the
following provisions of Delaware law shall apply to the extent inconsistent with the terms of the
Trust Documents: (a) the filing with any court or governmental body or agency of trustee
accounts or schedules of trustee fees and charges, (b) affirmative requirements to post bonds for
trustees, officers, agents or employees of a trust, (c) the necessity for obtaining court or other
governmental approval concerning the acquisition, holding or disposition of property, (d) fees or
other sums payable to trustees, officers, agents or employees of a trust, (e) the allocation of
receipts and expenditures to income or principal, (f) restrictions or limitations on the permissible
nature, amount or concentration of trust investments or requirements relating to the titling,
storage or other manner of holding of trust assets, (g) the existence of rights or interests
(beneficial or otherwise) in trust assets, (h) the ability of beneficial owners or other persons to
terminate or dissolve a trust, and (i) the establishment of fiduciary or other standards or
responsibilities or limitations on the acts or powers of trustees or beneficial owners that are
inconsistent with the limitations on liability or authorities and powers of the Trustee, the
Delaware Trustee, the STAC, or the FCR set forth or referenced in this Trust Agreement. 12 Del.
C. § 3540 shall not apply to the Trust.

Section 8.15     Settlor’s Representative.

        Pursuant to the Document Agreement (as defined in the Plan), Reorganized BSA is
hereby irrevocably designated as the “Settlor’s Representative” and is hereby authorized to take
any action consistent with Reorganized BSA’s obligations under the Document Agreement that
is reasonably requested of the Settlor by the Trustee. Pursuant to the Document Agreement, the
Settlor’s Representative shall cooperate with the Trustee and the Trust’s officers, employees and
professionals in connection with the Trust’s administration of the Aggregate Settlement
Consideration, including, but not limited to, providing the Trustee or his or her officers,
employees and professionals, upon written request (including e-mail), reasonable access to
information related to the Aggregate Settlement Consideration, including, without limitation,
delivery of documents in the possession of, or witnesses under the control of, Reorganized BSA
[and others] to the extent that the Trustee could obtain the same by subpoena, notice of
deposition or other permissible discovery request, without the need for a formal discovery
request.

Section 8.16     Dispute Resolution.

               (a)    Unless otherwise expressly provided for herein, the dispute resolution
procedures of this Section 8.17 shall be the exclusive mechanism to resolve any dispute between




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or among the parties hereto, and the Beneficiaries hereof, arising under or with respect to this
Trust Agreement.

                 (b)    Informal Dispute Resolution. Any dispute under this Trust Agreement
shall first be the subject of informal negotiations. The dispute shall be considered to have arisen
when a disputing party sends to the counterparty or counterparties a written notice of dispute
(“Notice of Dispute”). Such Notice of Dispute shall state clearly the matter in dispute. The
period of informal negotiations shall not exceed thirty (30) days from the date the Notice of
Dispute is received by the counterparty or counterparties, unless that period is modified by
written agreement of the disputing party and counterparty or counterparties. If the disputing party
and the counterparty or counterparties cannot resolve the dispute by informal negotiations, then
the disputing party may invoke the formal dispute resolution procedures as set forth below.

                (c)     Formal Dispute Resolution. The disputing party shall invoke formal
dispute resolution procedures, within the time period provided in the preceding subparagraph, by
serving on the counterparty or counterparties a written statement of position regarding the matter
in dispute (“Statement of Position”). The Statement of Position shall include, but need not be
limited to, any factual data, analysis or opinion supporting the disputing party’s position and any
supporting documentation and legal authorities relied upon by the disputing party. Each
counterparty shall serve its Statement of Position within thirty (30) days of receipt of the
disputing party’s Statement of Position, which shall also include, but need not be limited to, any
factual data, analysis or opinion supporting the counterparty’s position and any supporting
documentation and legal authorities relied upon by the counterparty. If the disputing party and
the counterparty or counterparties are unable to consensually resolve the dispute within thirty
(30) days after the last of all counterparties have served its Statement of Position on the disputing
party, the disputing party may file with the Bankruptcy Court a motion for judicial review of the
dispute in accordance with Section 8.17(d) below. In the case of any dispute pursuant to this
Section 8.17(c), if the dispute arose pursuant to the consent provision set forth in Section 4.1(b),
4.7, 5.14, 5.15(c) or 5.16, the burden of proof shall be on the party or parties who withheld
consent to show by a preponderance of the evidence that consent was not unreasonably withheld.
Notwithstanding anything to the contrary, this section does not apply to disputes arising under
Section 5.15(a) and (b) as the approval process for PP Settlements set forth in those sections is
the exclusive method for obtaining approval of a PP Settlement.

                 (d)    Judicial Review. The disputing party may seek judicial review of the
dispute by filing with the Bankruptcy Court (or, if the Bankruptcy Court shall not have
jurisdiction over any dispute, such court as has jurisdiction under Section 1.7above) and serving
on the counterparty or counterparties and the Trustee, a motion requesting judicial resolution of
the dispute. The motion must be filed within forty-five (45) days of receipt of the last
counterparty’s Statement of Position pursuant to the preceding subparagraph. The motion shall
contain a written statement of the disputing party’s position on the matter in dispute, including
any supporting factual data, analysis, opinion, documentation and legal authorities, and shall set
forth the relief requested and any schedule within which the dispute must be resolved for orderly
administration of the Trust. Each counterparty shall respond to the motion within the time period
allowed by the rules the court, and the disputing party may file a reply memorandum, to the
extent permitted by the rules of the court. In the case of any dispute pursuant to this Section


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8.17(d), if the dispute arose pursuant to the consent provision set forth in Section 5.14, the
burden of proof shall be on the party or parties who withheld consent to show by a
preponderance of the evidence that consent was not unreasonably withheld. Each party shall bear
its own costs and expenses of any judicial review under this Section 8.17(d), except that the
Trust shall bear the reasonable costs and expenses of the STAC and the FCR in connection with
any dispute described in the immediately preceding sentence.

Section 8.17     Independent Legal and Tax Counsel.

        All parties to this Trust Agreement have been represented by counsel and advisors of
their own selection in this matter. Consequently, the parties agree that the language in all parts of
this Trust Agreement shall in all cases be construed as a whole according to its fair meaning and
shall not be construed either strictly for or against any party. It is specifically acknowledged and
understood that this Trust Agreement has not been submitted to, nor reviewed or approved by,
the IRS or the taxing authorities of any state or territory of the United States of America.

Section 8.18     Waiver of Jury Trial.

        Each party hereto and each Beneficiary hereof hereby irrevocably waives, to the fullest
extent permitted by applicable law, any and all right to a trial by jury in any legal proceeding
arising out of or relating to this Trust Agreement.

Section 8.19     Effectiveness.

         This Trust Agreement shall not become effective until it has been executed and delivered
by all the parties hereto.

Section 8.20     Counterpart Signatures.

        This Trust Agreement may be executed in any number of counterparts, each of which
shall constitute an original, but such counterparts shall together constitute but one and the same
instrument. A signed copy of this Trust Agreement or any amendment hereto delivered by
facsimile, email or other means of Electronic Transmission, shall be treated in all manner and
respects as an original agreement or instrument and shall be considered to have the same binding
legal effect as if it were the original signed version thereof delivered in person.

                                  [SIGNATURE PAGES TO FOLLOW]




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        IN WITNESS WHEREOF, the parties have executed this Trust Agreement as of the
date first set forth above to be effective as of the Effective Date.

                                                                          [SETTLOR]


                                                                          [TRUSTEE]


                                                               [DELAWARE TRUSTEE]


                                                                   [STAC MEMBERS]


                                                                               [FCR]




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                                     EXHIBIT 1
                        AGGREGATE SETTLEMENT CONSIDERATION




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                                    EXHIBIT 2
                              CERTIFICATE OF TRUST




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                                   EXHIBIT 3
               TRUST DISTRIBUTION PROCEDURES FOR ABUSE CLAIMS




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                                    EXHIBIT 4
                              INVESTMENT GUIDELINES




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Input:
Document 1 ID       PowerDocs://DOCS_LA/342285/12
                    DOCS_LA-#342285-v12-BSA_Settlement_Trust_Agreem
Description
                    ent_after_TCC_Settlement_(Orig_from_BSA_2/11/22)
Document 2 ID       PowerDocs://DOCS_LA/342285/15
                    DOCS_LA-#342285-v15-BSA_Settlement_Trust_Agreem
Description
                    ent_after_TCC_Settlement_(Orig_from_BSA_2/11/22)
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Legend:
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Statistics:
                                     Count
Insertions                             22
Deletions                               3
Moved from                              0
Moved to                                0
Style changes                           0
Format changes                          0
Total changes                          25
